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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

                                                              Chapter 11
In re
                                                              Case No.: 19-10210 (LSS)
                                           1
Charlotte Russe Holding, Inc., et al.,
                                                              (Jointly Administered)
                           Debtors.




                 GLOBAL NOTES, METHODOLOGY AND SPECIFIC
             DISCLOSURES REGARDING THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

                                                 Introduction

       Charlotte Russe Holding, Inc., Charlotte Russe Holdings Corporation, Charlotte Russe
Intermediate Corporation, Charlotte Russe Enterprise, Inc., Charlotte Russe, Inc., Charlotte
Russe Merchandising, Inc., and Charlotte Russe Administration, Inc. (collectively, the
“Debtors”)2 with the assistance of their advisors, have filed their respective Schedules of
Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the
“Statements,” and together with the Schedules, the “Schedules and Statements”) with the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”),
pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and
Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).
           These Global Notes, Methodology, and Specific Disclosures Regarding the
    Debtors’ Schedules of Assets and Liabilities and Statement of Financial Affairs (the
    “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral
    part of each Debtor’s Schedules and Statements. The Global Notes should be referred to,
    considered, and reviewed in connection with any review of the Schedules and Statements.
           The Schedules and Statements do not purport to represent financial statements
    prepared in accordance with Generally Accepted Accounting Principles in the United States
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   The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
Charlotte Russe Holding Inc., (4325); Charlotte Russe Holdings Corporation (1045); Charlotte Russe Intermediate
Corporation (6345); Charlotte Russe Enterprise, Inc. (2527); Charlotte Russe, Inc. (0505); Charlotte Russe
Merchandising, Inc. (9453); and Charlotte Russe Administration, Inc. (9456). The Debtors’ headquarters are located
at 5910 Pacific Center Boulevard, Suite 120, San Diego, CA 92121.
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 A detailed description of the Debtors and their businesses, and the facts and circumstances surrounding
the Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Brian M. Cashman,
Chief Restructuring Officer of Charlotte Russe Holding, Inc., in Support of Debtors’ Chapter 11 Petitions
and First Day Motions, filed contemporaneously with the Debtors’ voluntary petitions for relief filed
under chapter 11 of title 11 of the United States Code on February 3, 2019.


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 (“GAAP”), nor are they intended to be fully reconciled with the financial statements of each
 Debtor (whether publically filed or otherwise). Additionally, the Schedules and Statements
 contain unaudited information that is subject to further review and potential adjustment,
 and reflect the Debtors’ reasonable efforts to report the assets and liabilities of each Debtor on
 an unconsolidated basis. Moreover, given, among other things, the uncertainty surrounding the
 collection and ownership of certain assets and the valuation and nature of certain liabilities, to
 the extent that a Debtor shows more assets than liabilities, this is not an admission that the
 Debtor was solvent as of the Petition Date (as defined herein) or at any time before the Petition
 Date. Likewise, to the extent a Debtor shows more liabilities than assets, this is not an
 admission that the Debtor was insolvent at the Petition Date or any time before the Petition
 Date.
        In preparing the Schedules and Statements, the Debtors relied upon information
 derived from their books and records that was available at the time of such preparation.
 Although the Debtors have made reasonable efforts to ensure the accuracy and completeness
 of such financial information, inadvertent errors or omissions, as well as the discovery of
 conflicting, revised, or subsequent information, may cause a material change to the Schedules
 and Statements. Accordingly, the Debtors reserve all of their rights to amend, supplement, or
 otherwise modify the Schedules and Statements as is necessary and appropriate.
 Notwithstanding the foregoing, the Debtors shall not be required to update the Schedules and
 Statements.
         The Debtors and their officers, employees, agents, attorneys, and financial advisors do
 not guarantee or warrant the accuracy or completeness of the data that is provided in the
 Schedules and Statements and shall not be liable for any loss or injury arising out of or
 caused in whole or in part by the acts, omissions, whether negligent or otherwise, in
 procuring, compiling, collecting, interpreting, reporting, communicating or delivering the
 information contained in the Schedules and Statements. Except as expressly required by the
 Bankruptcy Code, the Debtors and their officers, employees, agents, attorneys and financial
 advisors expressly do not undertake any obligation to update, modify, revise, or re-categorize
 the information provided in the Schedules and Statements or to notify any third party should
 the information be updated, modified, revised, or re-categorized. The Debtors, on behalf of
 themselves, their officers, employees, agents and advisors disclaim any liability to any third
 party arising out of or related to the information contained in the Schedules and Statements
 and reserve all rights with respect thereto.
        Mr. Brian M. Cashman, in his capacity as Chief Restructuring Officer of each of the
 Debtor entities, has signed each of the Schedules and Statements. In reviewing and signing
 the Schedules and Statements, Mr. Cashman has relied upon the efforts, statements and
 representations of various personnel employed by the Debtors. Mr. Cashman has not (and
 could not have) personally verified the accuracy of each such statement and representation,
 contained in the Schedules and Statements, including, for example, statements and
 representations concerning amounts owed to creditors.
        The Global Notes are in addition to any specific notes contained in each Debtor’s
 Schedules and Statements. The fact that the Debtors have prepared Global Notes or specific
 notes with respect to any information in the Schedules and Statements and not to other
 information in the Schedules and Statements should not be interpreted as a decision by the


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 Debtors to exclude the applicability of such Global Notes or specific notes to any of the
 Debtors’ remaining Schedules and Statements, as appropriate.
        Disclosure of information in one or more Schedules, one or more Statements, or one or
 more exhibits or attachments to the Schedules or Statements, even if incorrectly placed, shall
 be deemed to be disclosed in the correct Schedules, Statements, exhibits, or attachments.

                          Global Notes and Overview of Methodology
 1. Global Notes Control. In the event that the Schedules and Statements differ from the
    Global Notes, the Global Notes shall control.
 2. Reservation of Rights. Reasonable efforts have been made to prepare and file complete
    and accurate Schedules and Statements; however, inadvertent errors or omissions may
    exist. The Debtors reserve all rights to amend or supplement the Schedules and Statements
    from time to time, in all respects, as may be necessary or appropriate, including,
    without limitation, the right to amend the Schedules and Statements with respect to
    a n y claim (“Claim”) description, designation, or Debtor against which the Claim is
    asserted; dispute or otherwise assert offsets or defenses to any Claim reflected in the
    Schedules and Statements as to amount, liability, priority, status, or classification;
    subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;” or
    object to the extent, validity, enforceability, priority, or avoidability of any Claim. Any
    failure to designate a Claim in the Schedules and Statements as “disputed,” “contingent,”
    or “unliquidated” does not constitute an admission by the Debtors that such Claim or
    amount is not “disputed,” “contingent,” or “unliquidated.” Listing a Claim does not
    constitute an admission of liability by the Debtor against which the Claim is listed or
    against any of the Debtors. Furthermore, nothing contained in the Schedules and
    Statements shall constitute a waiver of rights with respect to the Debtors’ chapter 11
    cases, including, without limitation, issues involving Claims, substantive consolidation,
    defenses, equitable subordination, recharacterization, and/or causes of action arising
    under the provisions of chapter 5 of the Bankruptcy Code, and any other relevant non-
    bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
    rights contained elsewhere in the Global Notes does not limit in any respect the general
    reservation of rights contained in this paragraph.
      The listing in the Schedules or Statements (including, without limitation, Schedule
      A/B, Schedule E/F or Statement 4) by the Debtors of any obligation between a Debtor and
      another Debtor is a statement of what appears in a particular Debtor’s books and records
      and does not reflect any admission or conclusion of the Debtors regarding whether such
      amount would be allowed as a Claim or how such obligations may be classified and/or
      characterized in a plan of reorganization or by the Bankruptcy Court. The Debtors reserve
      all rights with respect to such obligations.
 3. Description of Cases and “as of” Information Date. On February 3, 2019 (the
    “Petition Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the
    Bankruptcy Code. The Debtors are operating their businesses and managing their
    properties as debtors in possession pursuant to sections 1107(a) and 1108 of the
    Bankruptcy Code. On F e b r u a r y 5 , 2 0 1 9 the Bankruptcy Court entered an order
    directing procedural consolidation and joint administration of the Debtors’ chapter 11

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      cases [Docket No. 75].
      The asset information provided in the Schedules and Statements, except as
      otherwise noted, represents the asset data of the Debtors as of February 3, 2019,
      and the liability information provided herein, except as otherwise noted,
      represents the liability data of the Debtors as of February 3, 2019.
 4. Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome, and
    an inefficient use of estate assets for the Debtors to obtain current market valuations for
    all of their assets. Accordingly, unless otherwise indicated, the Debtors’ Schedules and
    Statements reflect net book values as of February 3, 2019, in the Debtors’ books and
    records. Additionally, because the book values of certain assets, may materially differ
    from their fair market values, they may be listed as undetermined amounts as of the
    Petition Date. Furthermore, as applicable, assets that have fully depreciated or were
    expensed for accounting purposes may not appear in the Schedules and Statements if they
    have no net book value.
 5. Recharacterization.       Notwithstanding the Debtors’ reasonable efforts to properly
    characterize, classify, categorize, or designate certain Claims, assets, executory
    contracts, unexpired leases, and other items reported in the Schedules and Statements, the
    Debtors may, nevertheless, have improperly characterized, classified, categorized,
    designated, or omitted certain items due to the complexity and size of the Debtors’
    businesses. Accordingly, the Debtors reserve all of their rights to recharacterize,
    reclassify, recategorize, redesignate, add, or delete items reported in the Schedules and
    Statements at a later time as is necessary or appropriate as additional information
    becomes available, including, without limitation, whether contracts or leases listed
    herein were deemed executory or unexpired as of the Petition Date and remain
    executory and unexpired postpetition.
 6. Real Property and Personal Property–Leased. In the ordinary course of their
    businesses, the Debtors leased real property and various articles of personal property,
    including, fixtures, and equipment, from certain third-party lessors. The Debtors have
    made reasonable efforts to list all such leases in the Schedules and Statements. The
    Debtors have made reasonable efforts to include lease obligations on Schedule D (secured
    debt) to the extent applicable and to the extent the lessor filed a UCC-1. However, nothing
    in the Schedules or Statements is or shall be construed as an admission or
    determination as to the legal status of any lease (including whether to assume and
    assign or reject such lease or whether it is a true lease or a financing arrangement).
 7. Excluded Assets and Liabilities. The Debtors have sought to allocate liabilities between
    the prepetition and post-petition periods based on the information and research
    conducted in connection with the preparation of the Schedules and Statements. The
    allocation of liabilities between the prepetition and post-petition periods may change as
    additional information becomes available and further research is conducted. Accordingly,
    the Debtors reserve all of their rights to amend, supplement or otherwise modify the
    Schedules and Statements as is necessary and appropriate.
      The Debtors have excluded certain categories of assets, tax accruals, and liabilities from
      the Schedules and Statements, including, without limitation, employee benefit


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      accruals, and deferred gains. In addition, certain immaterial assets and liabilities may
      have been excluded.
      The Debtors also have excluded rejection damage Claims of counterparties to executory
      contracts and unexpired leases that may be rejected. In addition, certain immaterial assets
      and liabilities may have been excluded.
      The Bankruptcy Court has authorized the Debtors to pay, in their discretion, certain
      outstanding Claims on a post-petition basis. To the extent the Debtors pay any of the
      claims listed in the Schedules and Statements pursuant to any orders entered by the
      Bankruptcy Court, the Debtors reserve all rights to amend and supplement the Schedules
      and Statements and take other action, such as filing claims objections, as is necessary and
      appropriate to avoid overpayment or duplicate payment for such liabilities.
 8. Insiders. Solely, for purposes of the Schedules and Statements, the Debtors define
    “insiders” to include the following: (a) directors; (b) senior level officers; (c) equity
    holders holding in excess of 5% of the voting securities of the Debtor entities; (d)
    managing members; (e) Debtor affiliates; and (f) relatives of any of the foregoing (to
    the extent known by the Debtors).
      Person or entities listed as “insiders” have been included for informational purposes
      only and their inclusion shall not constitute an admission that those entities are insiders
      for purposes of section 101(31) of the Bankruptcy Code. The Debtors do not take any
      position with respect to: (a) such person’s influence over the control of the Debtors; (b) the
      management responsibilities or functions of such individual; (c) the decision-making or
      corporate authority of such individual; or (d) whether such individual could successfully
      argue that he or she is not an “insider” under applicable law, including the federal
      securities laws, or with respect to any theories of liability or for any other purpose.
 9. Intellectual Property Rights. The exclusion of any intellectual property shall not be
    construed as an admission that such intellectual property rights have been abandoned,
    terminated, assigned, expired by their terms, or otherwise transferred pursuant to a
    sale, acquisition, or other transaction. Conversely, inclusion of certain intellectual
    property shall not be construed to be an admission that such intellectual property
    rights have not been abandoned, terminated, assigned, expired by their terms, or
    otherwise transferred pursuant to a sale, acquisition, or other transaction.
      In addition, although the Debtors have made diligent efforts to attribute intellectual
      property to the rightful Debtor entity, in certain instances, intellectual property owned by
      one Debtor may, in fact, be owned by another Debtor. Accordingly, the Debtors
      reserve all of their rights with respect to the legal status of any and all such intellectual
      property rights.
 10. Intercompany and Other Transactions. The Debtors record certain intercompany
     receivables and payables for tax purposes only. As these transfers are not reflected on the
     Debtors’ balance sheets and the claims net to zero on a consolidated basis, the Statements
     and Schedules may not reflect all intercompany activity.
 11. Executory Contracts and Unexpired Leases. Although the Debtors made diligent
     attempts to attribute executory contracts and unexpired leases to their rightful Debtors,
     in certain instances, the Debtors may have inadvertently failed to do so. Accordingly, the

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      Debtors reserve all of their rights with respect to the named parties of any and all
      executory contracts, including the right to amend Schedule G.
      Moreover, other than real property leases reported in Schedule A/B 55, the Debtors have
      not necessarily set forth executory contracts and unexpired leases as assets in the
      Schedules and Statements, even though these contracts and leases may have some
      value to the Debtors’ estates. The Debtors’ executory contracts and unexpired leases
      have been set forth in Schedule G.
 12. Materialman’s/Mechanic’s Liens. The assets listed in the Schedules and Statements
     are presented without consideration of any materialman’s or mechanic’s liens.
 13. Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b)
     Schedule E/F part 1 as “priority,” (c) Schedule E/F part 2 as “unsecured,” or (d)
     Schedule G as “executory” or “unexpired,” does not constitute an admission by the
     Debtors of the legal rights of the Claimant, or a waiver of the Debtors’ rights to
     recharacterize or reclassify such Claims or contracts or leases or to exercise their rights to
     setoff against such Claims.
 14. Claims Description. Schedules D and E/F permit each Debtor to designate a Claim
     as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
     given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
     does not constitute an admission by that Debtor that such amount is not “disputed,”
     “contingent,” or “unliquidated,” or that such Claim is not subject to objection. The
     Debtors reserve all of their rights to dispute, or assert offsets or defenses to, any claim
     reflected on their respective Schedules and Statements on any grounds, including liability
     or classification. Additionally, the Debtors expressly reserve all of their rights to
     subsequently designate such claims as “disputed,” “contingent” or “unliquidated.”
     Moreover, listing a Claim does not constitute an admission of liability by the Debtors.
 15. Causes of Action. Despite their reasonable efforts to identify all known assets, the
     Debtors may not have listed all of their causes of action or potential causes of action
     against third-parties as assets in the Schedules and Statements, including, without
     limitation, causes of actions arising under the provisions of chapter 5 of the Bankruptcy
     Code and any other relevant non-bankruptcy laws to recover assets or avoid transfers.
     The Debtors reserve all of their rights with respect to any cause of action (including
     avoidance actions), controversy, right of setoff, cross-Claim, counter-Claim, or
     recoupment and any Claim on contracts or for breaches of duties imposed by law or in
     equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability,
     damage, judgment, account, defense, power, privilege, license, and franchise of any kind
     or character whatsoever, known, unknown, fixed or contingent, matured or unmatured,
     suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured
     or unsecured, assertable directly or derivatively, whether arising before, on, or after
     the Petition Date, in contract or in tort, in law, or in equity, or pursuant to any other
     theory of law (collectively, “Causes of Action”) they may have, and neither these
     Global Notes nor the Schedules and Statements shall be deemed a waiver of any Claims or
     Causes of Action or in any way prejudice or impair the assertion of such Claims or Causes
     of Action.
 16. Summary of Significant Reporting Policies. The following is a summary of

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      significant reporting policies:
                 a.      Undetermined Amounts. The description of an amount
                         as “unknown,” or “undetermined” is not intended to
                         reflect upon the materiality of such amount.

                 b.      Totals. All totals that are included in the Schedules
                         and Statements represent totals of all known amounts.
                         To the extent there are unknown or undetermined
                         amounts, the actual total may be different than the listed
                         total.
                 c.      Paid Claims. The Debtors have authority to pay certain
                         outstanding prepetition payables pursuant to various
                         Bankruptcy Court orders. To the extent the Debtors pay
                         any of the liabilities listed in the Schedules pursuant to
                         any orders entered by the Bankruptcy Court, the Debtors
                         reserve all of their rights to amend or supplement the
                         Schedules or take other action as is necessary and
                         appropriate to avoid over-payment of or duplicate
                         payments for any such liabilities.

                 d.      Liens. Property and equipment listed in the Schedules
                         and Statements are presented without consideration of
                         any liens that may attach (or have attached) to such
                         property and equipment.

                 e.      Currency. Unless otherwise indicated, all amounts are
                         reflected in U.S. dollars.

 17. Estimates and Assumptions.          To close the books and records of the Debtors as of the
     Petition Date and to prepare such information on a legal entity basis, the Debtors were
     required to make estimates, allocations, and assumptions that affect the reported amounts
     of assets, liabilities, revenue and expenses as of the Petition Date. The Debtors reserve all
     rights, but shall not be required, to amend the reported amounts of assets, revenue, and
     expenses to reflect changes in those estimates and assumptions.
 18. Credits and Adjustments. The claims of individual creditors for, among other things,
     goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
     and records and may not reflect credits, allowances, or other adjustments due from such
     creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
     allowances, and other adjustments, including the right to assert claims objections and/or
     setoffs with respect to the same.
 19. Setoffs. The Debtors incur certain offsets and other similar rights during the ordinary
     course of business. Offsets in the ordinary course can result from various items,
     including, without limitation, intercompany transactions, pricing discrepancies, returns,
     refunds, warranties, debit memos, credits, and other disputes between the Debtors and
     their suppliers and/or customers. These offsets and other similar rights are consistent

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      with the ordinary course of business in the Debtors’ industry and are not tracked
      separately. Therefore, although such offsets and other similar rights may have been
      accounted for when certain amounts were included in the Schedules, offsets are not
      independently accounted for, and as such, are or may be excluded from the Debtors’
      Schedules and Statements.
                   Specific Disclosures with Respect to the Debtors’ Schedules
 Schedule A/B. All values set forth in Schedule A/B reflect the book value of the Debtors’
 assets as of F e b r u a r y 3 , 2 0 1 9 , unless otherwise noted below. Other than real property
 leases reported on Schedule A/B 55, the Debtors have not included leases and contracts on
 Schedule A/B. Leases and contracts are listed on Schedule G.

          Schedule A/B 3. Cash values held in financial accounts are listed on Schedule A/B 3
          as of F e b r u a r y 3 , 2 0 1 9 . Details with respect to the Debtors’ cash management
          system and bank accounts are provided in the Debtors’ Motion for Entry of Interim
          and Final Orders (I) Authorizing Continued Use of Cash Management System, (II)
          Authorizing Continued Use of Existing Business Forms, (III) Authorizing the
          Continuation of Intercompany Transactions, (IV) Granting Administrative Priority
          Status to Post-Petition Intercompany Transactions, (V) Authorizing Use of Prepetition
          Bank Accounts, Account Control Agreements, and Certain Payment Methods, and (VI)
          Temporarily Suspending the Requirements of 11 U.S.C. §345(B) [Docket No. 9] (the
          “Cash Management Motion”).
          Schedule A/B 7. The Bankruptcy Court, pursuant to the Interim Order (I) Approving
          The Debtors’ Proposed Adequate Assurance of Payment For Future Utility Services,
          (II) Prohibiting Utility Companies From Altering, Refusing, Or Discontinuing
          Services, (III) Approving The Debtors’ Proposed Procedures for Resolving Adequate
          Assurance Requests, and (IV) Granting Related Relief [Docket No. 101], has
          authorized the Debtors to provide adequate assurance of payment for postpetition
          utility services, including a deposit in the amount of $500,000.00. Such deposit is
          not listed on Schedule A/B 7, which was prepared as of the Petition Date.
          Schedule A/B 11. Accounts receivable do not include intercompany receivables.
          Schedule A/B 15. Ownership interests in subsidiaries have been listed in Schedules
          A/B 15 as an undetermined amount because the fair market value of such ownership
          is dependent on numerous variables and factors and likely differs significantly from
          their net book value.
          Schedule A/B 38-42 – Dollar amounts are presented net of accumulated depreciation
          and other adjustments.
          Schedule A/B 55. The Debtors do not own any real property. The Debtors have
          listed their real property leases in Schedule A/B 55, along with the value of any
          leasehold improvements.
          Schedules A/B 60-65. Intangibles and Intellectual Property listed in Schedules A/B
          60-65 are listed as an undetermined amount or at their net book value. The fair market
          value of such ownership is dependent on numerous variables and factors and may
          differ significantly from their net book value. The Debtors maintain databases into

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          which they collect and retain personally identifiable information of customers
          including a customer database which contains customers name, address, phone
          number, e-mail address, gender, birthday, and online purchase history. The amounts
          listed with respect to the database are undetermined because the fair market value of
          such ownership cannot be determined. The Debtors maintain various licenses in
          connection with the conduct of their business such as business licenses in each of the
          jurisdictions in which they do business. These licenses are voluminous and have not
          been listed on Schedule A/B 62, as their value is undetermined. In addition, the
          Debtors maintain Intellectual Property Out-Licenses granting sell-off rights to vendors
          who have manufactured, produced or otherwise directed the production of apparel and
          shoes containing Purchased Intellectual Property under purchase orders that were
          cancelled, rejected otherwise terminated by the Debtors, permitting such certain of
          such vendors the limited right to sell off specific goods covered by such purchase
          orders without removing the branded tags, rivets, heat transfers, buttons, or emblems
          containing Purchased Intellectual Property. In addition, the Debtors are parties to
          Contracts that allow third parties to use or reference the name or logo of the Debtors,
          including relevant Purchased Intellectual Property, in referencing the commercial
          relationship of the Debtors under such Contracts, including, for example, advertising or
          signage in real properties in which the Debtors operate a Store.
          Schedule A/B 74 & 75. In the ordinary course of their businesses, the Debtors may
          have accrued, or may subsequently accrue, certain rights to counter-Claims, setoffs,
          refunds, or warranty Claims. Additionally, certain of the Debtors may be a party to
          pending litigation in which the Debtors have asserted, or may assert, Claims as a
          plaintiff or counter-Claims as a defendant. Because such Claims are unknown to the
          Debtors and not quantifiable as of the Petition Date, they are not listed on Schedule
          A/B 74 or 75. The Debtors’ failure to list any contingent and/or unliquidated claim
          held by the Debtors in response to these questions is not an admission that such
          cause of action, claim, or right does not exist, and should not be construed as a waiver,
          release, relinquishment, or forfeiture of such cause of action, claim, or right.


 Schedule D. The Claims listed on Schedule D arose or were incurred on various
 dates; a determination of the date upon which each Claim arose or was incurred would
 be unduly burdensome and cost prohibitive. Accordingly, not all such dates are included. All
 Claims listed on Schedule D, however, appear to have been incurred before the Petition Date.
 With respect to the Claims listed on Schedule D, reference to the applicable loan agreements
 and related documents is necessary for a complete description of the collateral and the
 nature, extent, and priority of liens. Nothing in the Global Notes or the Schedules and
 Statements shall be deemed a modification or interpretation of the terms of such
 agreements. Except as specifically stated on Schedule D, real property lessors, utility
 companies, and other parties that may hold security deposits have not been listed on
 Schedule D. Nothing herein shall be construed as an admission by the Debtors of the legal
 rights of the Claimant or a waiver of the Debtors’ rights to recharacterize or reclassify such
 Claim or contract.



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    Moreover, the Debtors have not included on Schedule D parties that may believe their Claims
    are secured through setoff rights, letters of credit, surety bonds, or inchoate statutory lien
    rights.
    Schedule E/F part 1. The Bankruptcy Court has authorized the Debtors, in their discretion,
    to pay certain liabilities that may be entitled to priority under the applicable provisions of the
    Bankruptcy Code. For example, on February 5, 2019, the Bankruptcy Court entered that
    certain: Final Order (I) Authorizing the Payment of Prepetition Sales, Use, and Franchise
    Taxes and Similar Taxes and Fees And (II) Authorizing Banks and Other Financial
    Institutions to Receive, Process, Honor, and Pay Checks Issued and Electronic Payment
    Requests Made Relating to the Foregoing [Docket No. 282] and Final Order Authorizing (I)
    Payment of Wages, Compensation and Employee Benefits and (II) Financial Institutions to
    Honor and Process Checks and Transfers Related to Such Obligations [Docket No. 283].
    The Debtors’ analysis of potential priority claims is ongoing and may take significant time to
    complete.
    The liabilities listed on the Schedules do not reflect any analysis of Claims under section
    503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to
    dispute or challenge the validity of any asserted Claims under section 503(b)(9) of the
    Bankruptcy Code or the characterization of the structure of any such transaction or any
    document or instrument related to any creditor’s Claim.
    Schedule E/F part 2.The Debtors have used reasonable efforts to report all general
    unsecured Claims against the Debtors on Schedule E/F part 2, based upon the Debtors’
    books and records as of the Petition Date.
    Determining the date upon which each Claim on Schedule E/F part 2 was incurred or
    arose would be unduly burdensome and cost prohibitive and, therefore, the Debtors do not
    list a date for each Claim listed on Schedule E/F part 2. Furthermore, claims listed on
    Schedule E/F part 2 may have been aggregated by unique creditor name and remit to address
    and may include several dates of incurrence for the aggregate balance listed.
    Schedule E/F part 2 contains information regarding pending litigation involving the Debtors.
    The dollar amount of potential Claims associated with any such pending litigation is listed as
    “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
    and Statements. Some of the litigation Claims listed on Schedule E/F may be subject to
    subordination pursuant to section 510 of the Bankruptcy Code. In addition, as of the Petition
    Date, the Debtors’ books and records reflected an aggregate net liability in respect of gift cards
    and store credits. The Debtors estimate that as of the Petition Date, approximately
    $3,142,190.003 in issued gift cards is outstanding.4 Because the Debtors do not know the
    identities of holders of such cards and credits, these are not listed on Schedule E/F, part 2.
    Schedule E/F part 2 also includes potential or threatened litigation claims. Any information
    contained in Schedule E/F part 2 with respect to such potential litigation shall not be a
    binding representation of the Debtors’ liabilities with respect to any of the potential suits and

3
  The gross amount of Gift Cards outstanding is $16,814,489. However, the amount that is actually reflected on the Debtors’ books and records is
$3,142,190.00 as a result of annual breakage which reflects the value of all Gift Cards issued over thirteen (13) months and the estimate of the
percentage of Gift Cards that were issued within the thirteen (13) months prior that will most likely not be redeemed within thirteen (13) months.
The Debtors do not maintain information regarding the individual holders of unredeemed Gift Cards.
4
  This amount includes outstanding Charlotte Russe Merchandise Credit Card balances.


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 proceedings included therein. The Debtors expressly incorporate by reference into Schedule
 E/F part 2 all parties to pending litigation listed in the Debtors’ Statements 7, as contingent,
 unliquidated, and disputed claims, to the extent not already listed on Schedule E/F part 2.
 Schedule E/F part 2 reflects the prepetition amounts owing to counterparties to executory
 contracts and unexpired leases. Such prepetition amounts, however, may be paid in
 connection with the assumption, or assumption and assignment, of executory contracts or
 unexpired leases. Additionally, Schedule E/F part 2 does not include potential rejection
 damage Claims, if any, of the counterparties to executory contracts and unexpired leases that
 may be rejected.
 Schedule G. Although reasonable efforts have been made to ensure the accuracy of each
 Debtor’s Schedule G, inadvertent errors may have occurred. Certain information, such as the
 contact information of the counter-party, may not be included where such information could
 not be obtained using the Debtors’ reasonable efforts. Listing or omitting a contract or
 agreement on Schedule G does not constitute an admission that such contract or agreement is
 or is not an executory contract or unexpired lease, was in effect on the Petition Date, or is
 valid or enforceable. Certain of the leases and contracts listed on Schedule G may contain
 certain renewal options, guarantees of payment, indemnifications, options to purchase, rights
 of first refusal, and other miscellaneous rights. Such rights, powers, duties, and obligations
 are not set forth separately on Schedule G.
 Certain confidentiality and non-disclosure agreements may not be listed on Schedule G.

 Certain of the contracts and agreements listed on Schedule G may consist of several
 parts, including, purchase orders, amendments, restatements, waivers, letters, and other
 documents that may not be listed on Schedule G or that may be listed as a single entry. In
 some cases, the same supplier or provider appears multiple times on Schedule G. This
 multiple listing is intended to reflect distinct agreements between the applicable Debtor and
 such supplier or provider. The Debtors expressly reserve their rights to challenge whether
 such related materials constitute an executory contract, a single contract or agreement, or
 multiple, severable or separate contracts.
 The contracts, agreements, and leases listed on Schedule G may have expired or may have
 been modified, amended, or supplemented from time to time by various amendments,
 restatements, waivers, estoppel certificates, letters, memoranda and other documents,
 instruments, and agreements that may not be listed therein despite the Debtors’ use of
 reasonable efforts to identify such documents. Further, unless otherwise specified on
 Schedule G, each executory contract or unexpired lease listed thereon shall include all
 exhibits, schedules, riders, modifications, declarations, amendments, supplements,
 attachments, restatements, or other agreements made directly or indirectly by any agreement,
 instrument, or other document that in any manner affects such executory contract or
 unexpired lease, without respect to whether such agreement, instrument, or other document is
 listed thereon.
 In addition, the Debtors may have entered into various other types of agreements in the
 ordinary course of their businesses, such as subordination, nondisturbance, and attornment
 agreements, supplemental agreements, settlement agreements, amendments/letter agreements,
 title agreements and confidentiality agreements. Such documents may not be set forth on

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 Schedule G. Certain of the executory agreements may not have been memorialized and could
 be subject to dispute. Executory agreements that are oral in nature have not been included on
 the Schedule G.
 The Debtors reserve all of their rights, Claims and causes of action with respect to the
 contracts on Schedule G, including the right to dispute or challenge the characterization of the
 structure of any transaction or any document or instrument related to a creditor’s Claim.
 Omission of a contract or agreement from Schedule G does not constitute an admission that
 such omitted contract or agreement is not an executory contract or unexpired lease. The
 Debtors’ rights under the Bankruptcy Code with respect to any such omitted contracts or
 agreements are not impaired by the omission. Schedule G may be amended at any time to add
 any omitted contract, agreement or lease.
 The listing of any contract on Schedule G does not constitute an admission by the Debtors as
 to the validity of any such contract or that such contract is an executory contract or unexpired
 lease. The Debtors reserve all of their rights to dispute the effectiveness of any such contract
 listed on Schedule G or to amend Schedule G at any time to remove any contract.
 The Debtors maintain a variety of insurance policies, including, without limitation, property,
 general liability, and employee related policies. For purposes of Schedule G, all insurance
 policies are included however, multiple Debtors may be a party to or covered by the policies.
 Schedule H. For purposes of Schedule H, the Debtors that are either the principal obligors
 or guarantors under the prepetition debt facilities are listed as Co-Debtors on Schedule H.
 The Debtors may not have identified certain guarantees associated with the Debtors’ executory
 contracts, unexpired leases, secured financings, debt instruments, and other such agreements.
 The Debtors reserve all of their rights to amend the Schedules to the extent that additional
 guarantees are identified or such guarantees are discovered to have expired or be
 unenforceable.
 In the ordinary course of their businesses, the Debtors may be involved in pending or
 threatened litigation. These matters may involve multiple plaintiffs and defendants, some or
 all of whom may assert cross-Claims and counter-Claims against other parties. Because the
 Debtors have treated all such Claims as contingent, disputed, or unliquidated, such Claims
 have not been set forth individually on Schedule H. Litigation matters can be found on
 each Debtor’s Schedule E/F part 2 and Statement 7, as applicable.
                   Specific Disclosures with Respect to the Debtors’ Statements
 Statement 3. Statement 3 includes any disbursement or other transfer made by the
 Debtors within 90 days before the Petition Date except for those made to insiders
 (which payments appear in response to Statement question 4), employees, and bankruptcy
 professionals (which payments appear in Statement 11 and include any retainers paid to
 bankruptcy professionals). The amounts listed in Statement 3 reflect the Debtors’
 disbursements netted against any check level detail; thus, to the extent a disbursement was
 made to pay for multiple invoices, only one entry has been listed on Statement 3. All
 disbursements listed on Statement 3 are made through the Debtors’ cash management system.
 Additionally, all disbursement information reported in Statement 3 for a specific Debtor
 pertains to the bank accounts maintained by that Debtor.


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 Statement 4. Statement 4 accounts for a respective Debtor’s transfers to insiders as
 applicable, but excludes intercompany transactions. With respect to individuals, the amounts
 listed reflect the universe of payments and transfers to such individuals including
 compensation, bonus (if any), expense reimbursement, relocation reimbursement, and/or
 severance. Amounts paid on behalf of such employee for certain life and disability
 coverage, which coverage is provided to all of the Debtors’ employees, has not been
 included.
 Statement 5. Statement 5 excludes goods returned in the ordinary course of business.
 Statement 6. There may be instances, including, without limitation, holdbacks made by credit
 card processors, where such a setoff has occurred without the Debtors’ knowledge.
 Statement 7. A ny information contained in Statement 7 shall not be a binding
 representation of the Debtors’ liabilities with respect to any of the suits and proceedings
 identified therein. The Debtors track all incidents in their stores through incident reports.
 However, only those incidents that have resulted in active litigation and/or proceedings are
 reported on SOFA 7.
 Statement 10. The Debtors occasionally incur losses for a variety of reasons, including
 theft and property damage. The Debtors, however, may not have records of all such losses
 if such losses do not have a material impact on the Debtors’ businesses or are not reported for
 insurance purposes. Ordinary course shrinkage is not reflected in the Statements. The losses
 listed on Statement 10 are based on estimated amounts.
 Statement 11. Out of an abundance of caution, the Debtors have included payments to
 all professionals who have rendered any advice related the Debtors’ bankruptcy
 proceedings in Statement 11. However, it is possible that the disclosed fees also relate to
 other, non-bankruptcy related services, and may include services rendered to other parties.
 Statement 26d. The Debtors have used their reasonable efforts to provide a listing of parties
 to which financial statements have been provided. However, the Debtors provide numerous
 banks, vendors and customers with financial statements and the listing on Statement 26d may
 not be a complete listing of every party provided financial statements.
 Statement 30. Unless otherwise indicated in a Debtor’s specific response to Statement 30,
 the Debtors have included a comprehensive response to Statement 30 in Statement 4.




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Fill in this information to identify the case:

Debtor name: Charlotte Russe Merchandising, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10215

                                                                                                                                                                   ¨ Check if this is an
                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                               12/15



 Part 1:     Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)




     1a. Real property:
         Copy line 88 from Schedule A/B ......................................................................................................                       $106,925.29



     1b. Total personal property:
         Copy line 91A from Schedule A/B ....................................................................................................                       $1,784,369.14



     1c. Total of all property:
         Copy line 92 from Schedule A/B ......................................................................................................                      $1,891,294.43



 Part 2:     Summary of Liabilities



2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D .................                                                 $112,179,000.00



3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)




     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F .........................................................                                    $717,998.28



     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ............................                                              + $30,539,773.00




4.   Total liabilities
     Lines 2 + 3a + 3b .........................................................................................................................................   $143,436,771.28




Official Form 206Sum                                  Summary of Assets and Liabilities for Non-Individuals                                                                 Page 1 of 1
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Fill in this information to identify the case:

Debtor name: Charlotte Russe Merchandising, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10215

                                                                                                                                ¨ Check if this is an
                                                                                                                                       amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and
properties which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any
executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added,
write the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If
an additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.
For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.



 Part 1:     Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
       ¨ No. Go to Part 2.
       þ Yes. Fill in the information below
       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor’s interest

2.     Cash on hand
2.1.   ________________________________________________________________________________________                               $________________

3.       Checking, savings, money market, or financial brokerage accounts (Identify all)
         Name of institution (bank or brokerage firm)      Type of account                  Last 4 digits of account number Current value of
                                                                                                                            debtor’s interest
3.1.     BANK OF AMERICA                                   NON-OPERATING BLOCKED            8339                              $1,000.00
                                                           ACCOUNT

4.       Other cash equivalents (Identify all)
         Description                 Name of institution              Type of account              Last 4 digits of account   Current value of
                                                                                                   number                     debtor’s interest
4.1.     _____________________ ________________________ _____________________ _____________________ $_______________

5.     Total of part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                              $1,000.00



 Part 2:     Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?
       ¨ No. Go to Part 3.
       þ Yes. Fill in the information below

Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                           Page 1 of 10
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Debtor     Charlotte Russe Merchandising, Inc.                                                             Case number (if known) 19-10215

7.       Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit                                                           Current value of
                                                                                                                    debtor’s interest

7.1.     SOLID WASTE                                                                                                $310.00
         CITY OF ONTARIO (CHRIS MONIER-CHRG CRD)

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                                        Current value of
                                                                                                                    debtor’s interest
8.1.     OTHER                                                                                                      $11.56
         CMRS-FP
8.2.     OTHER                                                                                                      $5,150.00
         LIVINGSTON INTERNATIONAL INC
8.3.     CONTRACTS ( YEARLY SERVICE CHARGE)                                                                         $1,200.00
         MATTHEWS INTERNATIONAL
8.4.     OTHER                                                                                                      $700,000.00
         PFS WEB
8.5.     OTHER                                                                                                      $277,630.00
         PFS WEB

9.     Total of part 2
       Add lines 7 through 8. Copy the total to line 81.                                                                 $984,301.56



 Part 3:      Accounts receivable

10.    Does the debtor have any accounts receivable?
       þ No. Go to Part 4.
       ¨ Yes. Fill in the information below.
                                                                                                                     Current value of
                                                                                                                     debtor’s interest

11.        Accounts receivable
                               Face amount          Doubtful or uncollectible
                                                    accounts

11a.       90 days old or      $__________       - $_____________________           = ........ →                     $_______________
           less:

                               Face amount          Doubtful or uncollectible
                                                    accounts

11b.       Over 90 days old:   $__________       - $_____________________           = ........ →                     $_______________

12.    Total of part 3
       Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                $0.00



 Part 4:      Investments

13.    Does the debtor own any investments?
       þ No. Go to Part 5.
       ¨ Yes. Fill in the information below.
Official Form 206A/B                         Schedule A/B: Assets — Real and Personal Property                                  Page 2 of 10
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Debtor     Charlotte Russe Merchandising, Inc.                                                            Case number (if known) 19-10215

                                                                                            Valuation method used   Current value of
                                                                                            for current value       debtor’s interest

14.     Mutual funds or publicly traded stocks not included in Part 1
        Name of fund or stock

14.1. ___________________________________________________________________                   _____________________ $________________

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses,
          including any interest in an LLC, partnership, or joint venture
          Name of entity                                                   % of ownership
15.1.     ___________________________________________________              ____________%    _____________________ $_______________

16.       Government bonds, corporate bonds, and other negotiable and non-negotiable
          instruments not included in Part 1
          Describe
16.1.     __________________________________________________________________                _____________________ $_______________

17.     Total of part 4
        Add lines 14 through 16. Copy the total to line 83.                                                                $0.00



 Part 5:      Inventory, excluding agriculture assets

18.     Does the debtor own any inventory (excluding agriculture assets)?
        þ No. Go to Part 6.
        ¨ Yes. Fill in the information below.
          General description              Date of the last        Net book value of        Valuation method used   Current value of
                                           physical inventory      debtor's interest        for current value       debtor’s interest
                                                                   (Where available)
19.       Raw materials
19.1.     ________________________ _____________________ $___________________               _____________________ $_______________

20.       Work in progress
20.1.     ________________________ _____________________ $___________________               _____________________ $_______________

21.       Finished goods, including goods held for resale
21.1.     ________________________ _____________________ $___________________               _____________________ $_______________

22.       Other inventory or supplies
22.1.     ________________________ _____________________ $___________________               _____________________ $_______________

23.     Total of part 5
        Add lines 19 through 22. Copy the total to line 84.                                                                $0.00

24.     Is any of the property listed in Part 5 perishable?
        ¨ No
        ¨ Yes
25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        ¨ Yes Book value: $______________ Valuation method: ____________________ Current value: $_____________
26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes
Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                               Page 3 of 10
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Debtor     Charlotte Russe Merchandising, Inc.                                                            Case number (if known) 19-10215



 Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
        þ No. Go to Part 7.
        ¨ Yes. Fill in the information below.
          General description                                               Net book value of   Valuation method    Current value of
                                                                            debtor's interest   used for current    debtor’s interest
                                                                            (Where available)   value

28.       Crops—either planted or harvested
28.1.     ___________________________________________________               $_______________    _________________   $_______________

29.       Farm animals. Examples: Livestock, poultry, farm-raised fish
29.1.     ___________________________________________________               $_______________    _________________   $_______________

30.       Farm machinery and equipment (Other than titled motor vehicles)
30.1.     ___________________________________________________               $_______________    _________________   $_______________

31.       Farm and fishing supplies, chemicals, and feed
31.1.     ___________________________________________________               $_______________    _________________   $_______________

32.       Other farming and fishing-related property not already listed in Part 6
32.1.     ___________________________________________________               $_______________    _________________   $_______________

33.     Total of part 6
        Add lines 28 through 32. Copy the total to line 85.                                                                $0.00

34.     Is the debtor a member of an agricultural cooperative?
        ¨ No
        ¨ Yes. Is any of the debtor’s property stored at the cooperative?
         ¨ No
         ¨ Yes
35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        ¨ Yes Book value: $______________ Valuation method: ____________________ Current value: $_____________
36.     Is a depreciation schedule available for any of the property listed in Part 6?
        ¨ No
        ¨ Yes
37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes

 Part 7:      Office furniture, fixtures, and equipment; and collectibles

38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
        ¨ No. Go to Part 8.
        þ Yes. Fill in the information below.



Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                               Page 4 of 10
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Debtor     Charlotte Russe Merchandising, Inc.                                                               Case number (if known) 19-10215

          General description                                                 Net book value of   Valuation method      Current value of
                                                                              debtor's interest   used for current      debtor’s interest
                                                                              (Where available)   value

39.       Office furniture
39.1.     OFFICE FURNITURE - OWNED                                            $48,606.07          Cost-Based/Straight   $48,606.07
                                                                                                  Line

40.       Office fixtures
40.1.     OFFICE FIXTURES - OWNED                                             $3,816.27           Cost-Based/Straight   $3,816.27
                                                                                                  Line

41.       Office equipment, including all computer equipment and
          communication systems equipment and software

                                                                              Net book value of   Valuation method      Current value of
                                                                              debtor's interest   used for current      debtor’s interest
                                                                                                  value

41.1.     OFFICE EQUIPMENT - OWNED                                            $530,099.69         Cost-Based/Straight   $530,099.69
                                                                                                  Line

41.2.     OFFICE EQUIPMENT - LEASED                                           $52,507.34          Cost-Based/Straight   $52,507.34
                                                                                                  Line

42.       Collectibles. Examples: Antiques and figurines; paintings, prints, or other
          artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
          or baseball card collections; other collections, memorabilia, or collectibles
42.1.     ___________________________________________________                 $_______________    _________________     $_______________

43.     Total of part 7
        Add lines 39 through 42. Copy the total to line 86.                                                                 $635,029.37

44.     Is a depreciation schedule available for any of the property listed in Part 7?
        ¨ No
        þ Yes
45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 8:      Machinery, equipment, and vehicles

46.     Does the debtor own or lease any machinery, equipment, or vehicles?
        ¨ No. Go to Part 9.
        þ Yes. Fill in the information below.
          General description                                                 Net book value of   Valuation method      Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   used for current      debtor’s interest
          HIN, or N-number)                                                   (Where available)   value
                                                                              (Where available)
47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1.     ___________________________________________________                 $_______________    _________________     $_______________

48.       Watercraft, trailers, motors, and related accessories. Examples: Boats,
          trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1.     ___________________________________________________                 $_______________    _________________     $_______________

49.       Aircraft and accessories
49.1.     ___________________________________________________                 $_______________    _________________     $_______________

Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                     Page 5 of 10
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Debtor     Charlotte Russe Merchandising, Inc.                                                                    Case number (if known) 19-10215

50.       Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
50.1.     EQUIPMENT - OWNED                                                     $164,038.21           Cost-Based/Straight     $164,038.21
                                                                                                      Line

51.     Total of part 8
        Add lines 47 through 50. Copy the total to line 87.                                                                      $164,038.21

52.     Is a depreciation schedule available for any of the property listed in Part 8?
        ¨ No
        þ Yes
53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 9:      Real property

54.     Does the debtor own or lease any real property?
        ¨ No. Go to Part 10.
        þ Yes. Fill in the information below.
          Description and location of property                      Nature and          Net book value      Valuation           Current value of
          Include street address or other description such as       extent of           of debtor's         method used for     debtor’s interest
          Assessor Parcel Number (APN), and type of property        debtor’s interest   interest            current value
          (for example, acreage, factory, warehouse,                in property         (Where available)
          apartment or office building), if available.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.1.     __________________________________________                LEASEHOLD           $25,548.60          Cost-               $25,548.60
                                                                    IMPROVEMENTS                            Based/Straight
          WAREHOUSE                                                                                         Line
          1801 DISTRIBUTION CENTER
          1175 E FRANCIS ST
          ONTARIO CA 91761

55.2.     __________________________________________                LEASEHOLD           $81,376.69          Cost-               $81,376.69
                                                                    IMPROVEMENTS                            Based/Straight
          COMMERCIAL OFFICE SPACE                                                                           Line
          1265 CORPORATE OFFICE #1
          575 FLORIDA STREET, SUITE 200
          SAN FRANCISCO CA 94110

56.     Total of part 9
        Add the current value on lines 55. Copy the total to line 88.                                                            $106,925.29

57.     Is a depreciation schedule available for any of the property listed in Part 9?
        ¨ No
        þ Yes
58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?
        þ No
        ¨ Yes




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                        Page 6 of 10
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Debtor     Charlotte Russe Merchandising, Inc.                                                                     Case number (if known) 19-10215

 Part 10: Intangibles and intellectual property

59.     Does the debtor have any interests in intangibles or intellectual property?
        þ No. Go to Part 11.
        ¨ Yes. Fill in the information below.
          General description                                                  Net book value of        Valuation method    Current value of
                                                                               debtor's interest        used for current    debtor’s interest
                                                                               (Where available)        value

60.       Patents, copyrights, trademarks, and trade secrets
60.1.     ___________________________________________________                  $_______________         _________________   $_______________

61.       Internet domain names and websites
                                                                               Net book value of        Valuation method    Current value of
                                                                               debtor's interest                            debtor’s interest
61.1.     ___________________________________________________                  $_______________         _________________   $_______________

62.       Licenses, franchises, and royalties
62.1.     ___________________________________________________                  $_______________         _________________   $_______________

63.       Customer lists, mailing lists, or other compilations
63.1.     ___________________________________________________                  $_______________         _________________   $_______________

64.       Other intangibles, or intellectual property
64.1.     ___________________________________________________                  $_______________         _________________   $_______________

65.       Goodwill
65.1.     ___________________________________________________                  $_______________         _________________   $_______________

66.     Total of part 10
        Add lines 60 through 65. Copy the total to line 89.                                                                         $0.00

67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A)
        and 107)?
        ¨ No
        ¨ Yes
68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        ¨ No
        ¨ Yes
69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes

 Part 11: All other assets

70.     Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

        ¨ No. Go to Part 12.
        þ Yes. Fill in the information below.



Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                        Page 7 of 10
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Debtor     Charlotte Russe Merchandising, Inc.                                                                    Case number (if known) 19-10215

                                                                                                                              Current value of
                                                                                                                              debtor’s interest

71.     Notes receivable
        Description (include name of obligor)               Total face amount        Doubtful or                              Current value of
                                                                                     uncollectible amount                     debtor’s interest

71.1. _______________________________________               $________________     - $________________          = ........ →   $________________
        _______________________________________

72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state,     Tax refund amount    NOL amount              Tax year                  Current value of
         local)                                                                                                               debtor’s interest
72.1.    _________________________________             $_______________     $_______________        _________________         $_______________

73.      Interests in insurance policies or annuities
         Insurance company             Insurance policy     Annuity issuer name   Annuity account     Annuity account         Current value of
                                       No.                                        type                No.                     debtor’s interest
73.1.    TRAVELERS PROPERTY            PROPERTY       _________________           _______________ _______________ UNDETERMINED
         CASUALTY INSURANCE            INSURANCE
         CO.                           POLICY NO.
                                       KTJ‐CMB‐3065P37‐0‐19
73.2.    NORTH SHORE                   DIC INSURANCE        _________________     _______________ _______________ UNDETERMINED
         MANAGEMENT                    POLICY NO.
                                       NSM39117
73.3.    UNDERWRITERS AT               CARGO                _________________     _______________ _______________ UNDETERMINED
         LLOYD'S LONDON                INSURANCE
                                       POLICY NO.
                                       M‐20831
73.4.    TRAVELERS PROPERTY            GENERAL        _________________           _______________ _______________ UNDETERMINED
         CASUALTY CO. OF               LIABILITY ‐
         AMERICA                       EMPLOYEE
                                       BENEFIT
                                       LIABILITY
                                       INSURANCE
                                       POLICY NO.
                                       TC2J‐GLSA‐6E00763A‐19
73.5.    TRAVELERS PROPERTY            AUTOMOBILE     _________________           _______________ _______________ UNDETERMINED
         CASUALTY CO. OF               INSURANCE
         AMERICA                       POLICY NO.
                                       TJ‐CAP‐6E007641‐19
73.6.    TRAVELERS PROPERTY            WORKERS’         _________________         _______________ _______________ UNDETERMINED
         CASUALTY CO. OF               COMPENSATION
         AMERICA                       INSURANCE
                                       POLICY NO.
                                       UB‐1L338947‐19‐51‐R
                                       (AZ,FL,MA,OR,WI)
73.7.    CONTINENTAL INS. CO.          INTERNATIONAL        _________________     _______________ _______________ UNDETERMINED
         (CNA)                         PACKAGE
                                       INSURANCE
                                       POLICY NO. PST
                                       62 313 6940
73.8.    NAVIGATOR’S                   UMBRELLA        _________________          _______________ _______________ UNDETERMINED
         INSURANCE CO.                 LIABILITY
                                       INSURANCE
                                       POLICY NO.
                                       NY19UMR701624IV




Official Form 206A/B                            Schedule A/B: Assets — Real and Personal Property                                        Page 8 of 10
                            Case 19-10210-LSS                 Doc 458      Filed 04/03/19     Page 23 of 226

Debtor     Charlotte Russe Merchandising, Inc.                                                           Case number (if known) 19-10215

73.9.     AMERICAN FIRE &               EXCESS                _________________   _______________ _______________ UNDETERMINED
          CASUALTY INS. CO.             LIABILITY
          (LIBERTY)                     INSURANCE
                                        POLICY NO. ECA
                                        (20) 54326811
73.10. NATIONAL UNION FIRE              SPECIAL RISK          _________________   _______________ _______________ UNDETERMINED
       INS. CO. OF                      INSURANCE
       PITTSBURGH, PA                   POLICY NO.
                                        88‐085‐312
73.11. SYNDICATE 2623/623 AT            CYBER LIABILITY _________________         _______________ _______________ UNDETERMINED
       LLOYDS (BEAZLEY)                 INSURANCE
                                        POLICY NO.
                                        W24A9F180101

74.       Causes of action against third parties (whether or not a lawsuit
          has been filed)
                                                         Nature of claim                       Amount requested   Current value of
                                                                                                                  debtor’s interest
74.1.     __________________________________             __________________________________    $_______________   $_______________

75.       Other contingent and unliquidated claims or causes of action of
          every nature, including counterclaims of the debtor and rights to
          set off claims
                                                         Nature of claim                       Amount requested   Current value of
                                                                                                                  debtor’s interest
75.1.     __________________________________             __________________________________    $_______________   $_______________

76.       Trusts, equitable or future interests in property
76.1.     _______________________________________________________________________________________                 $_______________

77.       Other property of any kind not already listed
          Examples: Season tickets, country club membership
77.1.     _______________________________________________________________________________________                 $_______________

78.     Total of part 11
        Add lines 71 through 77. Copy the total to line 90.                                                         UNDETERMINED

79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?
        þ No
        ¨ Yes




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                              Page 9 of 10
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Debtor    Charlotte Russe Merchandising, Inc.                                                                                    Case number (if known) 19-10215



 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.
      Type of property                                                                  Current value of                   Current value of
                                                                                        personal                           real property
                                                                                        property

80.   Cash, cash equivalents, and financial assets. Copy line 5,                              $1,000.00
      Part 1.

81.   Deposits and prepayments. Copy line 9, Part 2.                                        $984,301.56


82.   Accounts receivable. Copy line 12, Part 3.                                                $0.00


83.   Investments. Copy line 17, Part 4.                                                        $0.00


84.   Inventory. Copy line 23, Part 5.                                                          $0.00


85.   Farming and fishing-related assets. Copy line 33, Part 6.                                 $0.00


86.   Office furniture, fixtures, and equipment; and                                        $635,029.37
      collectibles. Copy line 43, Part 7.

87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.                             $164,038.21



88.   Real property. Copy line 56, Part 9. ...................................................................... →           $106,925.29

89.   Intangibles and intellectual property. Copy line 66, Part 10.                             $0.00


90.   All other assets. Copy line 78, Part 11.                                     +     UNDETERMINED



91.   Total. Add lines 80 through 90 for each column. ..........91a.                       $1,784,369.14          + 91b.      $106,925.29




92.   Total of all property on Schedule A/B. Lines 91a + 91b = 92. ......................................................................      $1,891,294.43




Official Form 206A/B                              Schedule A/B: Assets — Real and Personal Property                                                Page 10 of 10
                          Case 19-10210-LSS               Doc 458         Filed 04/03/19           Page 25 of 226


Fill in this information to identify the case:

Debtor name: Charlotte Russe Merchandising, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10215

                                                                                                                             ¨ Check if this is an
                                                                                                                                    amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                    12/15

Be as complete and accurate as possible.

1.    Do any creditors have claims secured by debtor’s property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this
      form.
      þ Yes. Fill in all of the information below.

 Part 1:      List Creditors Who Have Secured Claims

2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the
      creditor separately for each claim.




Official Form 206D                    Schedule D: Creditors Who Have Claims Secured by Property                                        Page 1 of 4
                              Case 19-10210-LSS              Doc 458         Filed 04/03/19           Page 26 of 226

Debtor    Charlotte Russe Merchandising, Inc.                                                                    Case number (if known) 19-10215



                                                                                                            Column A         Column B
                                                                                                            Amount of        Value of
                                                                                                            Claim            collateral that
                                                                                                            Do not deduct    supports this
                                                                                                            the value of     claim
                                                                                                            collateral.


2.1.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         BANK OF AMERICA, N.A.                              ALL OF THE DEBTOR'S PERSONAL                    $22,854,000.00   UNDETERMINED
         100 FEDERAL STREET                                 PROPERTY AND ASSETS AS MORE FULLY
         9TH FL                                             DESCRIBED ON EXHIBIT A ATTACHED
         BOSTON MA 02110                                    HERETO, WHETHER NOW OWNED OR
                                                            HEREAFTER ACQUIRED OR ARISING, AND
         Creditor’s email address, if known                 INCLUDING ALL REPLACEMENTS,
                                                            SUBSTITUTIONS. ADDITIONS AND
         _____________________________________
                                                            ACCESSIONS OF, TO, OR FOR ANY OF THE
         Date debt was incurred: 6/27/2005                  FOREGOING AND ALL PROCEEDS AND
                                                            PRODUCTS THEREOF.
         Last 4 digits of account number:
                                                            Describe the lien
         Do multiple creditors have an interest in the
         same property?                                     UCC-1 ORIGINALLY RECORDED 6/27/2005
                                                            IN STATE OF CALIFORNIA AS DOCUMENT #
         ¨ No                                               05-7032209179 AND AS AMENDED AND
                                                            CONTINUED BY DOCUMENT #S 10-
         þ Yes. Have you already specified the              72316617, 10-72316698, 10-72326123, 13-
         relative priority?                                 73624171, 13-73624174, 15-74440301
             þ No. Specify each creditor, including         Is the creditor an insider or related party?
             this creditor, and its relative priority.
             BANK OF AMERICA HAS A FIRST                    þ No
             PRIORITY LIEN ON, AMONG OTHER
             THINGS, THE DEBTORS' ACCOUNTS,                 ¨ Yes
             CHATTEL PAPER, INVENTORY,                      Is anyone else liable on this claim?
             COMMERCIAL TORTS AND GENERAL
             INTANBIGLES (OTHER THAN                        ¨ No
             INTELLECTUAL PROPERTY) AND A
             SECOND PRIOIRTY LIEN ON ALL                    þ Yes. Fill out Schedule H: Codebtors
             OTHER ASSETS, SUBORDINATE TO                   (Official Form 206H).
             JEFFERIES FINANCE, LLC AS AGENT                As of the petition filing date, the claim is:
             UNDER THE AMENDED & RESTATED                   Check all that apply.
             CREDIT AGREMEENT DATED AS OF
             MAY 22, 2013, AS AMENDED, THE                  ¨ Contingent
             "PREPETITION TERM LOAN
             AGREEMENT" JEFFERIES FINANCE,                  ¨ Unliquidated
             LLC                                            ¨ Disputed
             ¨ Yes. The relative priority of creditors is
             specified on lines: ______




Official Form 206D                     Schedule D: Creditors Who Have Claims Secured by Property                                     Page 2 of 4
                              Case 19-10210-LSS           Doc 458          Filed 04/03/19          Page 27 of 226

Debtor     Charlotte Russe Merchandising, Inc.                                                                      Case number (if known) 19-10215

2.2.     Creditor's name and address                     Describe debtor’s property that is subject
                                                         to a lien

         JEFFRIES FINANCE LLC, AS                        ALL ASSETS OF THE DEBTOR, WHETHER                   $89,325,000.00     UNDETERMINED
         ADMINISTRATIVE AGENT AND AS                     NOW EXISTING OR HEREAFTER
         COLLATERAL AGENT                                ACQUIRED OR ARISING, INCLUDING ALL
         520 MADISON AVENUE                              PROCEEDS THEREOF
         NEW YORK NY 10022
                                                         Describe the lien
         Creditor’s email address, if known
                                                         UCC-1 ORIGINALLY RECORDED 5/23/2013
         _____________________________________           IN STATE OF CALIFORNIA AS DOCUMENT #
                                                         13-7362419430 AND AS AMENDED BY
         Date debt was incurred: 5/23/2013               DOCUMENT # 14-74069222
         Last 4 digits of account number:                Is the creditor an insider or related party?
         Do multiple creditors have an interest in the
         same property?
                                                         þ No
                                                         ¨ Yes
         ¨ No                                            Is anyone else liable on this claim?
         þ Yes. Have you already specified the
         relative priority?                              ¨ No
             ¨ No. Specify each creditor, including      þ Yes. Fill out Schedule H: Codebtors
             this creditor, and its relative priority.   (Official Form 206H).
             _________________________________           As of the petition filing date, the claim is:
             _________________________________           Check all that apply.
             þ Yes. The relative priority of creditors is ¨ Contingent
             specified on lines: 2.1
                                                          ¨ Unliquidated
                                                          ¨ Disputed


       Total of the dollar amounts from Part 1, Column A, including the amounts
3.                                                                                                 $112,179,000.00
       from the Additional Page, if any.




 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.
         Name and address                                                                                On which line in       Last 4 digits of
                                                                                                         Part 1 did you enter   account number
                                                                                                         the related            for this entity
                                                                                                         creditor?

3.1.     BANK OF AMERICA MERRILL LYNCH                                                                   Line 2.1               _______________
         MATTHEW POTTER
         100 FEDERAL STREET
         BOSTON MA 02110

3.2.     BANK OF AMERICA, N.A.                                                                           Line 2.1               _______________
         40 BROAD STREET
         BOSTON MA 02109

3.3.     CHIPMAN BROWN CICERO & COLE LLP                                                                 Line 2.2               _______________
         WILLIAM E CHIPMAN, JR.,MARK D OLIVERE
         HERCULES PLAZA
         1313 NORTH MARKET ST STE 5400
         WILMINGTON DE 19801-6101


Official Form 206D                    Schedule D: Creditors Who Have Claims Secured by Property                                         Page 3 of 4
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Debtor    Charlotte Russe Merchandising, Inc.                                                  Case number (if known) 19-10215

3.4.     KING & SPALDING LLP                                                        Line 2.2               _______________
         MICHAEL RUPE ESQ
         1185 6TH AVENUE, 35TH FLOOR
         NEW YORK NY 10036

3.5.     KING & SPALDING LLP                                                        Line 2.2               _______________
         W. AUSTIN JOWERS;CHRISTOPHER G BOIES
         1185 6TH AVENUE, 35TH FLOOR
         NEW YORK NY 10036

3.6.     KING AND SPALDING LLP                                                      Line 2.2               _______________
         MICHAEL R HANDLER,ESQ
         1185 AVENUE OF THE AMERICAS,35TH FLOOR
         NEW YORK NY 10036

3.7.     MORGAN LEWIS & BOCKIUS LLP                                                 Line 2.1               _______________
         JULIA FROST-DAVIES
         ONE FEDERAL STREET
         BOSTON MA 02110

3.8.     MORGAN LEWIS & BOCKIUS LLP                                                 Line 2.1               _______________
         CHRISTOPHER CARTER
         ONE FEDERAL STREET
         BOSTON MA 02110

3.9.     RICHARDS LAYTON & FINGER PA                                                Line 2.1               _______________
         MARK D COLLINS;BRETT M HAYWOOD
         ONE RODNEY SQUARE
         920 NORTH KING STREET
         WILMINGTON DE 19801




Official Form 206D               Schedule D: Creditors Who Have Claims Secured by Property                         Page 4 of 4
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Fill in this information to identify the case:

Debtor name: Charlotte Russe Merchandising, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10215

                                                                                                                               ¨ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                              12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G) .Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.



 Part 1:      List All Creditors with PRIORITY Unsecured Claims

1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       ¨ No. Go to Part 2.
       þ Yes. Go to line 2.
2.         List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If
           the debtor has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.


2.1.       Priority creditor’s name and mailing        As of the petition filing date, the claim     Total claim             Priority amount
           address                                     is:
                                                       Check all that apply.                         $2,596.91               $2,596.91
           ABUDA, JACK D
           437 ST. FRANCIS BOULEVARD                   ¨ Contingent
           DALY CITY CA 94015
                                                       ¨ Unliquidated                                                        Nonpriority amount

                                                       ¨ Disputed                                                            $0.00

           Date or dates debt was incurred             Basis for the claim:
           __________________________________          WAGES & PTO

           Last 4 digits of account                    Is the claim subject to offset?
           number:
                                                       ¨ No
           Specify Code subsection of PRIORITY
           unsecured claim:11 U.S.C. § 507(a) (4)      ¨ Yes

2.2.       Priority creditor’s name and mailing        As of the petition filing date, the claim     Total claim             Priority amount
           address                                     is:
                                                       Check all that apply.                         $2,021.88               $2,021.88
           ALVARADO, MARTHA L
           1388 W 11TH ST                              ¨ Contingent
           POMONA CA 91766
                                                       ¨ Unliquidated                                                        Nonpriority amount

                                                       ¨ Disputed                                                            $0.00

           Date or dates debt was incurred             Basis for the claim:
           __________________________________          WAGES & PTO

           Last 4 digits of account                    Is the claim subject to offset?
           number:
                                                       ¨ No
           Specify Code subsection of PRIORITY
           unsecured claim:11 U.S.C. § 507(a) (4)      ¨ Yes
Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1 of 191
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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.3.     Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,065.68               $1,065.68
         ALVAREZ, FORTUNATO
         619 E SANDERLING ST                      ¨ Contingent
         ONTARIO CA 91764
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4.     Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,454.02               $1,454.02
         ALVAREZ, PATRICIA
         1302 N. TOPSAIL AVE                      ¨ Contingent
         COLTON CA 92324
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5.     Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $912.19                 $912.19
         AMEZCUA, GUILLERMO
         6001 ALFREDO ST                          ¨ Contingent
         CHINO CA 91710
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 191
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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.6.     Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,180.76               $3,180.76
         ANDAL-OPENA, KIMBERLY S
         43 ST GERMAIN CT                         ¨ Contingent
         PLEASANT HILL CA 94523
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7.     Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,296.50               $1,296.50
         ANDERSON, AUTUMN
         1448 MADISON ST                          ¨ Contingent
         202
         OAKLAND CA 94612                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.8.     Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $10,312.13              $10,312.13
         ANDERSON, KATELYN M
         812 ELM STREET                           ¨ Contingent
         EL CERRITO CA 94530
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 3 of 191
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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.9.     Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $12,328.99              $12,328.99
         ANDERSON, SCOTT W
         9848 LIBERTY ST.                         ¨ Contingent
         ALTA LOMA CA 91737
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.10.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,615.90               $1,615.90
         ARNADO, ALEXIS CATHERIN A
         921 EASTRIDGE DR.                        ¨ Contingent
         FAIRFIELD CA 94534
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.11.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,688.61               $1,688.61
         ARZATE, IRMA
         778 E LA VERNE AVE                       ¨ Contingent
         POMONA CA 91767-2814
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 4 of 191
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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.12.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $5,407.49               $5,407.49
         ASHFORD, DAVIN S
         731 N IDAHO ST                           ¨ Contingent
         SAN MATEO CA 94401-1120
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.13.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $537.48                 $537.48
         ASTORGA-FIGUEROA, MARGARITA
         17400 ARROW BLVD APT #76                 ¨ Contingent
         FONTANA CA 92335
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.14.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,418.18               $1,418.18
         AVILA, MARIA D
         790 NORTH G ST                           ¨ Contingent
         SAN BERNADINO CA 92410
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.15.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,260.00               $1,260.00
         BACCAY, PAUL V
         9014 CAMBRIDGE CIRCLE                    ¨ Contingent
         VALLEJO CA 94591
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.16.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,235.34               $1,235.34
         BAEZ, MARIA D
         9995 FERON BLVD B                        ¨ Contingent
         RANCHO CUCAMONGA CA 91730
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.17.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,709.59               $2,709.59
         BAEZA, MARIA
         754 N. HOLMES AVE                        ¨ Contingent
         ONTARIO CA 91764-3512
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.18.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,741.89               $2,741.89
         BARRAGAN, NOHEMI
         1090 E E ST                              ¨ Contingent
         ONTARIO CA 91764
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.19.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $0.00                   $0.00
         BARRETO. DALIA V.
         1650 S. CAMPUS AVE                       ¨ Contingent
         APT 78
         ONTARIO CA 91761                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.20.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,995.80               $1,995.80
         BELLAS, KRISTINA
         50 SAN GREGORIO CT                       ¨ Contingent
         DANVILLE CA 94526
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.21.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $828.84                 $828.84
         BENITEZ, HILDA
         615 VIRGINIA AVE                         ¨ Contingent
         APT #12
         ONTARIO CA 91764                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.22.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,962.05               $3,962.05
         BENNETT, LAURA S
         1240 7TH AVE.                            ¨ Contingent
         4
         SAN FRANCISO CA 94122                    ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.23.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $6,129.95               $6,129.95
         BENNETT, ROXANNE M
         664 TRENTON STREET                       ¨ Contingent
         EL CAJON CA 92019
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.24.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $4,539.17               $4,539.17
         BHULLAR, GULRAJ S
         450 E OKEEFE ST                          ¨ Contingent
         APT 37
         EAST PALO ALTO CA 94303                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.25.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $5,291.87               $5,291.87
         BIKLE, KANANI M
         655 12TH ST                              ¨ Contingent
         APT 118
         OAKLAND CA 94607                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.26.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $4,745.94               $4,745.94
         BRITO-VILLANUEVA, MICHELLE S
         1237 SKYLINE DRIVE                       ¨ Contingent
         DALY CITY CA 94015
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.27.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,144.53               $1,144.53
         BROWN, CARL L
         2642 S SAN DIEGO AVE                     ¨ Contingent
         ONTARIO CA 91761
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.28.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $4,718.35               $4,718.35
         BROWNE, KATRINA
         46 ROSLYN AVE                            ¨ Contingent
         SAN CARLOS CA 94070
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.29.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,109.28               $1,109.28
         BUENO, CECILIA
         5062 BANDERA ST                          ¨ Contingent
         MONTCLAIR CA 91763-4407
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.30.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,027.41               $2,027.41
         BUTLER, CHANEL
         2610 HENRY AVE                           ¨ Contingent
         PINOLE CA 94564
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.31.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,093.03               $2,093.03
         CALLANTA, OLIVIA C
         201 EVERGREEN AVENUE                     ¨ Contingent
         DALY CITY CA 94014
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.32.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $827.40                 $827.40
         CAMPOS, DENNISE M
         132 W. MAITLAND ST.                      ¨ Contingent
         A
         ONTARIO CA 91762                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.33.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $245.52                 $245.52
         CAMPOS, MARIA D
         616 N. CHERRY AVENUE                     ¨ Contingent
         ONTARIO CA 91764
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.34.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $5,846.88               $5,846.88
         CANCEL, ASHLYN D
         675 31ST STREET                          ¨ Contingent
         UNIT C
         OAKLAND CA 94609                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.35.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,516.32               $1,516.32
         CANDELARIO, CRISTINA
         850 W MISSION BLVD                       ¨ Contingent
         SPACE A27
         ONTARIO CA 91762-4927                    ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.36.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $874.49                 $874.49
         CARBAJAL, RUBIO ELIZABETH
         754 N HOLMES AVE                         ¨ Contingent
         ONTARIO CA 91764
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.37.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $10,089.63              $10,089.63
         CARTER. ROY M.
         2095 CHEROKEE ST                         ¨ Contingent
         KINGMAN AZ 86401
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.38.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $662.40                 $662.40
         CERDA, ERIKA
         1702 E TAM O SHANTER ST                  ¨ Contingent
         ONTARIO CA 91761
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.39.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,222.52               $3,222.52
         CHAN, LAUREN
         8003 ROCKFORD PL                         ¨ Contingent
         PLEASANTON CA 94566
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.40.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $13,552.69              $12,850.00
         CHENG. IRENE
         1200 LANE STREET                         ¨ Contingent
         BELMONT CA 94002
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $702.69

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.41.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,930.25               $3,930.25
         CHEUNG, MELODY
         1501 39TH AVE                            ¨ Contingent
         SAN FRANCISCO CA 94122
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.42.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,633.03               $2,633.03
         CONTRERAS, DONNA J
         2126 S VINE AVE                          ¨ Contingent
         ONTARIO CA 91762
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.43.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $11,626.40              $11,626.40
         COOREMAN, JESSICA M
         16032 PUERTA DEL SOL                     ¨ Contingent
         RANCHO SANTA FE CA 92067
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.44.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $870.66                 $870.66
         CORNEJO, VERONICA
         14177 EL CONTENTO AVE                    ¨ Contingent
         FONTANA CA 92337
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.45.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,130.72               $2,130.72
         CORTES, MARIA J
         1750 PLEASENT AVE                        ¨ Contingent
         ONTARIO CA 91761
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.46.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,482.72               $1,482.72
         CORTEZ. JOSE R.
         1650 S. CAMPUS                           ¨ Contingent
         APT #79
         ONTARIO CA 91761                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.47.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $10,172.67              $10,172.67
         CRUZ. HARUMI
         1001 LAUREL STREET                       ¨ Contingent
         APT 420
         SAN CARLOS CA 94070                      ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.48.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,907.88               $1,907.88
         DAVALOS, MARTINA
         806 CALAVERAS AVE                        ¨ Contingent
         ONTARIO CA 91764-3616
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.49.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,730.98               $2,730.98
         DE, GUZMAN JOELENE G
         878 BLUEOAK WAY                          ¨ Contingent
         FAIRFIELD CA 94534
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.50.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $0.00                   $0.00
         DEL, VALLE, ANNE
         949 RIDGEVIEW CT.                        ¨ Contingent
         UNIT D
         SO. SAN FRANCISCO CA 94080               ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.51.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,115.38               $2,115.38
         DIAZ, VANESSA M
         189 3RD STREET                           ¨ Contingent
         APT A409
         OAKLAND CA 94607                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.52.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $896.65                 $896.65
         DOZIER, DAWN S
         12995 EXCALIBUR DR.                      ¨ Contingent
         CORONA CA 92880
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.53.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $671.70                 $671.70
         DUARTE, ANA G
         1951 S EUCLID AVE                        ¨ Contingent
         15
         ONTARIO CA 91762                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.54.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $14,615.14              $12,850.00
         FERENC, AMANDA I
         3600 20TH STREET                         ¨ Contingent
         APT 105
         SAN FRANCISCO CA 94110                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $1,765.14

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.55.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,754.03               $1,754.03
         FIGUEROA, BERTHA H
         1312 BONITA PL.                          ¨ Contingent
         ONTARIO CA 91762
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.56.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,623.16               $3,623.16
         FLORES, LORENA
         11618 MONTERRA DR                        ¨ Contingent
         FONTANA CA 92337
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.57.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,072.32               $1,072.32
         FLORES, TAURINO
         915 EAST H ST                            ¨ Contingent
         ONTARIO CA 91764
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.58.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $13,719.16              $12,850.00
         FU. HUAYUN
         1755 CALIFORNIA DR                       ¨ Contingent
         #3
         BURLINGAME CA 94010                      ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $869.16

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.59.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,768.40               $1,768.40
         GABBAC, BRYAN M
         559 IVY STREET                           ¨ Contingent
         SAN FRANCISCO CA 94102
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.60.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $673.14                 $673.14
         GARCIA, YURI
         990 E. 6TH ST.                           ¨ Contingent
         POMONA CA 91766
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.61.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $10,187.62              $10,187.62
         GEE, STEPHANIE C
         632 RHEEM BOULEVARD                      ¨ Contingent
         MORAGA CA 94556
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.62.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,891.09               $2,891.09
         GELLER, ALEXANDRA F
         700 COSTA RICA AVE                       ¨ Contingent
         SAN MATEO CA 94402
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.63.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,203.35               $3,203.35
         GLEESON, BRENNA
         124 ELM AVE                              ¨ Contingent
         SAN BRUNO CA 94066-5403
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.64.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $926.46                 $926.46
         GOMEZ, ALEJANDRA
         521 WEST MAITLAND ST                     ¨ Contingent
         ONTARIO CA 91762
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.65.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $689.04                 $689.04
         GOMEZ, DANIEL S
         7430 WHITEWOOD DR                        ¨ Contingent
         FONTANA CA 92336
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.66.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,000.27               $1,000.27
         GOMEZ, JOSE
         7569 PINYON AVE                          ¨ Contingent
         FONTANA CA 92336
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.67.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,768.94               $1,768.94
         GONZALES, RAELENE L
         11514 FIRESIDE DR                        ¨ Contingent
         WHITTIER CA 90604
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.68.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $699.36                 $699.36
         GONZALEZ, JOSE M
         7680 PHILBIN AVE                         ¨ Contingent
         RIVERSIDE CA 92503
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.69.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,304.96               $3,304.96
         GUO, YUHUI
         939 LA MESA TERRACE                      ¨ Contingent
         UNIT A
         SUNNYVALE CA 94086                       ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.70.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $5,503.15               $5,503.15
         GUTIERREZ, EDDIE S
         816 W. F STREET                          ¨ Contingent
         ONTARIO CA 91762
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.71.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $754.68                 $754.68
         GUZMAN, VILLEGAS HILDA
         416 E CARLTON ST                         ¨ Contingent
         ONTARIO CA 91761
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.72.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $15,075.11              $12,850.00
         HASEGAWA. JANET R.
         1370 DE SOTO AVE                         ¨ Contingent
         BURLINGAME CA 94010
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $2,225.11

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.73.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,211.30               $2,211.30
         HERNANDEZ, DE ARELLANO AURORA
         882 S PALMETTO AVE.                      ¨ Contingent
         ONTARIO CA 91762
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.74.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,574.83               $1,574.83
         HERNANDEZ, ELVIA
         10935 TERRA VISTA PKWY APT#176           ¨ Contingent
         RANCHO CUCAMONGA CA 91730
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.75.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $13,415.87              $12,850.00
         HOBBS. AMANDA
         320 THE VILLAGE DRIVE                    ¨ Contingent
         #116
         REDONDO BEACH CA 90277                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $565.87

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.76.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,788.75               $2,788.75
         HODGES, MORIAH C
         65 CORAL DR                              ¨ Contingent
         ORINDA CA 94563
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.77.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,364.12               $2,364.12
         HOLLAND, PAUL A
         260 W. CASCADE DR                        ¨ Contingent
         RIALTO CA 92376-3400
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.78.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $5,760.22               $5,760.22
         HOLLOWAY, MICHELLE A
         510 PAGE ST.                             ¨ Contingent
         APT. 3
         SAN FRANCISCO CA 94117                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.79.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,686.10               $3,686.10
         HOLZHAUSEN, ERIKA
         3640 LOS FELIZ BLVD.                     ¨ Contingent
         6E
         LOS ANGELES CA 90027                     ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.80.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $4,957.20               $4,957.20
         HUBER, CECILE
         3036 BAKER STREET                        ¨ Contingent
         SAN FRANCISCO CA 94123
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.81.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,598.10               $3,598.10
         HUNTER, MARNI
         10 BISHOP COURT                          ¨ Contingent
         OAKLAND CA 94611
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.82.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,345.53               $3,345.53
         IRWIN, DEBORAH L
         PO BOX 1718                              ¨ Contingent
         ALPINE CA 91903-1718
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.83.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $4,499.08               $4,499.08
         JAIN, SHUCHI
         5571 CLOVE HITCH LOOP                    ¨ Contingent
         FREMONT CA 94555
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.84.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $837.24                 $837.24
         JARA, FLOR A
         11595 RAMONA AVE                         ¨ Contingent
         CHINO CA 91710
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.85.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,031.64               $1,031.64
         JARA, MARIA R
         11595 RAMONA AVE                         ¨ Contingent
         CHINO CA 91710
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.86.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,667.96               $1,667.96
         JOHNSON, TORI
         716 LAKEMONT PL. UNIT 9                  ¨ Contingent
         SAN RAMON CA 94582
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.87.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $5,603.65               $5,603.65
         JONES, TIA
         10400 ARROW RTE.                         ¨ Contingent
         T-17
         RANCHO CUCAMONGA CA 91730                ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.88.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,267.29               $1,267.29
         JOSEPH, BRIANNA A
         39715 PLUMAS WAY                         ¨ Contingent
         FREMONT CA 94538
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.89.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $938.52                 $938.52
         JURADO, MARLENE
         31520 STONEY CREEK                       ¨ Contingent
         LAKE ELSINORE CA 92532
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.90.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $867.24                 $867.24
         JURADO, REYNA
         31520 STONEY CREEK DR                    ¨ Contingent
         LAKE ELSINORE CA 92532
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.91.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,034.14               $2,034.14
         KEENER, RACHEL M
         15678 ANCHORAGE DRIVE                    ¨ Contingent
         SAN LEANDRO CA 94579
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.92.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $822.30                 $822.30
         KHAN, GHAZALA G
         13151 YORBA AVE                          ¨ Contingent
         APT 23
         CHINO CA 91710                           ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.93.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,619.81               $3,619.81
         KOA, VALERIE
         122 MAIDENHAIR TERRACE                   ¨ Contingent
         SUNNYVALE CA 94086
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.94.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,162.99               $1,162.99
         KWOK. ANITA
         215 CORDOVA STREET                       ¨ Contingent
         SAN FRANCISCO CA 94112
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.95.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,454.01               $3,454.01
         LANG, DIANA
         2724 COREY PLACE                         ¨ Contingent
         SAN RAMON CA 94583
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.96.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,523.51               $3,523.51
         LEE, JESSICA HEERA
         888 O'FARRELL STREET                     ¨ Contingent
         APT E1202
         SAN FRANCISCO CA 94109                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.97.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $9,855.50               $9,855.50
         LEE, SUN
         959 GREENHILL ROAD                       ¨ Contingent
         MILL VALLEY CA 94941
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.98.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $840.57                 $840.57
         LLABAN, SOFRONIO S
         14010 MARBELA ST                         ¨ Contingent
         FONTANA CA 92336-3882
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.99.    Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,216.98               $1,216.98
         LOPEZ, ALMA G
         1021 E. ELMA                             ¨ Contingent
         ONTARIO CA 91764
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.100.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,792.50               $2,792.50
         LOPEZ, CHELSI
         861A WALLEN STREET                       ¨ Contingent
         SAN FRANCISCO CA 94129
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.101.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $831.32                 $831.32
         MACABALI, ALLENBERT T
         7137 KEMPSTER AVE                        ¨ Contingent
         FONTANA CA 92336
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.102.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $943.86                 $943.86
         MACDONALD, SARA M
         8269 TAPIA VIA DR                        ¨ Contingent
         C
         RANCHO CUCAMONGA CA 91730                ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.103.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $4,485.04               $4,485.04
         MADRID, ANDREW
         401 SHERWOOD DR                          ¨ Contingent
         SAUSALITO CA 94965
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.104.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $4,220.27               $4,220.27
         MARK, JACKLYN
         222 9TH AVENUE                           ¨ Contingent
         SAN FRANCISCO CA 94118
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.105.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,116.12               $1,116.12
         MARTINEZ, CECILIA
         4178 N. E. ST.                           ¨ Contingent
         SAN BERNARDINO CA 92407
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.106.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $9,534.48               $9,534.48
         MCCAW, THADDEUS
         308 JACKSON STREET                       ¨ Contingent
         D311
         OAKLAND CA 94607                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.107.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,174.09               $3,174.09
         MCDONALD, ERIN
         845 S NORMANDIE                          ¨ Contingent
         APT #4
         LOS ANGELES CA 90005                     ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.108.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $4,633.64               $4,633.64
         MCNULTY, TARA R
         2616 HARRISON ST APT 6                   ¨ Contingent
         OAKLAND CA 94612
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.109.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,769.35               $1,769.35
         MEDINA, ASHLEY
         1806 MASON ST.                           ¨ Contingent
         SAN FRANCISCO CA 94133
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.110.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $655.56                 $655.56
         MEDINA, IGNACIO
         615 DIAMOND CT                           ¨ Contingent
         APT# 2
         UPLAND CA 91786                          ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.111.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,078.11               $2,078.11
         MENDOZA, DORA
         575 W. THIRD ST                          ¨ Contingent
         RIALTO CA 92376-5720
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.112.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,402.23               $2,402.23
         MIER, ADRIANA
         2573 COLD SPRINGS PLACE                  ¨ Contingent
         ONTARIO CA 91761
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.113.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $10,268.45              $10,268.45
         MOMBERG, LISA S
         1978 MUIRFIELD AVENUE                    ¨ Contingent
         UPLAND CA 91784-7943
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.114.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $13,700.86              $12,850.00
         MONIER. CHRISTOPHER M.
         804 CALLE DULCINEA                       ¨ Contingent
         SAN CLEMENTE CA 92672
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $850.86

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.115.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $533.28                 $533.28
         MONTOYA, ROSAS, FELIPE A.
         12968 LANTERN LN                         ¨ Contingent
         VICTORVILLE CA 92392
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.116.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,019.71               $2,019.71
         MOORE, EMILY C
         701 PINE STREET                          ¨ Contingent
         APT 26
         SAN FRANCISCO CA 94108                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.117.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $11,209.61              $11,209.61
         MORALES. AHSUE T.
         1764 NEWELL AVE                          ¨ Contingent
         WALNUT CREEK CA 94595
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.118.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,069.30               $3,069.30
         MORAN, MARIA
         15252 SENECA RD                          ¨ Contingent
         SPACE #66
         VICTORVILLE CA 92392                     ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.119.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $4,076.97               $4,076.97
         MORISANO. CATHERINE M.
         14122 HINDRY AVE                         ¨ Contingent
         HAWTHORNE CA 90250
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.120.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $712.42                 $712.42
         MURILLO, NORMA A
         1403 CREEKWOOD CT                        ¨ Contingent
         PERRIS CA 92571-4942
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.121.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $7,541.44               $7,541.44
         NGUYEN, THU A
         524 PANORAMA DRIVE                       ¨ Contingent
         SAN FRANCISCO CA 94131
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.122.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,530.35               $1,530.35
         NUNEZ, DE HERNANDEZ YULMA
         10447 LATOUR LN                          ¨ Contingent
         MIRA LOMA CA 91752
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.123.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,759.60               $1,759.60
         ON, VICKI
         200 MORAGA WAY                           ¨ Contingent
         ORINDA CA 94563
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.124.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,654.78               $1,654.78
         OSUNA, LUZ
         5896 JANET STREET                        ¨ Contingent
         RIVERSIDE CA 92509
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.125.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $5,414.96               $5,414.96
         OVERTON, MARY K
         2522 EAGLE AVE                           ¨ Contingent
         ALAMEDA CA 94501
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.126.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,161.56               $2,161.56
         PARONELLI, BRIANA M
         26 HOLLOWAY                              ¨ Contingent
         SAN FRANCISCO CA 94112
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.127.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,851.13               $1,851.13
         PAYTON, DESIRAE A
         2191 WHITMAN WAY                         ¨ Contingent
         APT 11
         SAN BRUNO CA 94066                       ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.128.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $4,063.74               $4,063.74
         PECK, LAUREN
         434 E 17TH STREET                        ¨ Contingent
         APT. 314
         OAKLAND CA 94606                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.129.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $5,506.83               $5,506.83
         PELAEZ, GAETZ REBEKA
         86 BALMY ST                              ¨ Contingent
         SAN FRANCISCO CA 94110
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.130.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,072.32               $1,072.32
         PEREZ, EUFEMIA
         1716 SIERRA DAWN PLACE                   ¨ Contingent
         ONTARIO CA 91762-5637
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.131.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,560.00               $1,560.00
         PICH, DANA J
         2670 22ND AVE                            ¨ Contingent
         SAN FRANCISCO CA 94116
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.132.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,137.00               $1,137.00
         PLEASANT, NAKIA C
         480 LEXINGTON AVE                        ¨ Contingent
         #2
         HAYWARD CA 94544                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.133.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $7,703.99               $7,703.99
         QUAN, SPENCER S
         619 HOLLOWAY AVE                         ¨ Contingent
         SAN FRANCISCO CA 94112
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.134.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $5,191.54               $5,191.54
         RAJAMANICKAM, DIPTI P
         20532 DEERPARK CT                        ¨ Contingent
         SARATOGA CA 95070
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.135.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,547.53               $2,547.53
         RAMIREZ, GABRIELLA
         423 25TH AVENUE #105                     ¨ Contingent
         SAN FRANCISCO CA 94121
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.136.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,965.34               $2,965.34
         RANCES, DUSTIN
         857 30TH AVENUE                          ¨ Contingent
         SAN FRANCISCO CA 94121
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.137.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $8,413.33               $8,413.33
         RATTIN, JENNIFER M
         531 SILVER AVENUE                        ¨ Contingent
         SAN FRANCISCO CA 94112
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.138.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $579.54                 $579.54
         REGLA, VALERIA
         11248 JUNEBERRY LN                       ¨ Contingent
         FONTANA CA 92337
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.139.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $12,508.52              $12,508.52
         REYES, JOSE A
         828 W. MINES AVE.                        ¨ Contingent
         MONTEBELLO CA 90640
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.140.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $0.48                   $0.48
         REYNA. ANA
         13613 TUCKER AVE                         ¨ Contingent
         CHINO CA 91710-4856
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.141.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,086.60               $1,086.60
         RIVERA, FUENTES ELSA L
         1454 E 5 ST                              ¨ Contingent
         APT 2
         ONTARIO CA 91764                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.142.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $866.30                 $866.30
         ROBLES, YVONNE
         2741 LANFRANCO ST.                       ¨ Contingent
         LOS ANGELES CA 90033
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.143.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,367.69               $2,367.69
         RODRIGUEZ, QUIRIA M
         221 CLARA ST                             ¨ Contingent
         14
         SAN FRANCISCO CA 94107                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                                Case number (if known) 19-10215




2.144.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,461.90               $1,461.90
         RODRIGUEZ, ROSARIO
         2438 CALDWELL                            ¨ Contingent
         ONTARIO CA 91761-6047
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.145.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,710.56               $3,710.56
         ROSADO, ALEXANDRA M
         25 CAPRA WAY                             ¨ Contingent
         APT. 301
         SAN FRANCISCO CA 94123                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.146.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,358.04               $1,358.04
         ROSALES, SANTIAGO
         13095 LANCASTER LN                       ¨ Contingent
         MORENO VALLEY CA 92553
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.147.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $8,623.10               $8,623.10
         RUANO, JESSICA M
         23 ROSEMARY CT.                          ¨ Contingent
         NOVATO CA 94945
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.148.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,729.28               $1,729.28
         RUELAS, YOLANDA
         21115 OAKWOOD ST                         ¨ Contingent
         PERRIS CA 92570
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.149.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,755.95               $3,755.95
         RUSH, STEPHANIE D
         139 PICCADILLY PL                        ¨ Contingent
         APT H
         SAN BRUNO CA 94066                       ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.150.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,192.31               $2,192.31
         SAMUEL, NATALIE R
         46 TERRA LINDA DRIVE                     ¨ Contingent
         SAN RAFAEL CA 94903
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.151.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $10,561.19              $10,561.19
         SAN, VICENTE MELISSA E
         27 OAK BROOK PL                          ¨ Contingent
         PLEASANT HILL CA 94523
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.152.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $739.29                 $739.29
         SANCHEZ, EVELYN J
         790 NORTH G ST                           ¨ Contingent
         SAN BERNARDINO CA 92410
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.153.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,644.38               $2,644.38
         SANCHEZ, MONTESINOS LILIA A
         1300 26TH AVENUE                         ¨ Contingent
         605
         SAN FRANCISCO CA 94122                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.154.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $323.73                 $323.73
         SANDOVAL, DAVID
         8935 CAROB DR                            ¨ Contingent
         FONTANA CA 92335
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.155.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,108.61               $1,108.61
         SAUCEDO, JAMES
         15804 BUCK POINT LANE                    ¨ Contingent
         FONTANA CA 92336
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.156.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $6,873.63               $6,873.63
         SCHEIB, ERIC R
         393 27TH ST                              ¨ Contingent
         SAN FRANCISCO CA 94131
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.157.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $9,122.57               $9,122.57
         SCHERTZ, MEGAN K
         2701 VAN NESS DRIVE                      ¨ Contingent
         606
         SAN FRANCISCO CA 94109                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.158.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,398.86               $2,398.86
         SERRATO, VIVIANA R
         1373 S PLEASANT AVE                      ¨ Contingent
         ONTARIO CA 91761
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.159.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $10,282.50              $10,282.50
         SHUMWAY, TRISTEN J
         445 BURNETT AVE.                         ¨ Contingent
         APT. 201
         SAN FRANCISCO CA 94131                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.160.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $12,508.52              $12,508.52
         SIBRIAN, JEANIE S
         1060 W. MONTROSE ST                      ¨ Contingent
         BLOOMINGTON CA 92316-1558
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.161.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,531.02               $2,531.02
         SILVA, HAYLEY
         510 26TH AVE.                            ¨ Contingent
         307
         SAN FRANCISCO CA 94121                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.162.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,883.65               $3,883.65
         SIMONINI, TIFFANY A
         850 MAPLE AVE.                           ¨ Contingent
         SOUTH SAN FRANCISC CA 94080
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.163.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,107.98               $2,107.98
         SINGH, MANPREET
         381 TAMARACK DRIVE                       ¨ Contingent
         UNION CITY CA 94587
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.164.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $4,558.92               $4,558.92
         SITU, SUSANNA
         2380 PRICETON DRIVE                      ¨ Contingent
         SAN BRUNO CA 94066
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.165.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $5,227.77               $5,227.77
         SMITH, SIRIKA
         1630 WENDY DRIVE                         ¨ Contingent
         PLEASANT HILL CA 94523
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.166.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $483.26                 $483.26
         SNYDER, LEONOR
         234 EAST OAK HILL STREET                 ¨ Contingent
         ONTARIO CA 91761
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.167.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,666.12               $3,666.12
         SOEKLAND, CASEY
         900 BUSH STREET                          ¨ Contingent
         #1103
         SAN FRANCISCO CA 94109                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.168.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $14,180.44              $12,850.00
         SON. KHRISTENE J.
         552 SAN PEDRO COVE                       ¨ Contingent
         SAN RAFAEL CA 94901
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $1,330.44

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.169.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $4,345.52               $4,345.52
         SOTO, FERNANDO J
         11618 MONTERRA DR                        ¨ Contingent
         FONTANA CA 92337
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.170.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $13,426.50              $12,850.00
         TANG. JUSTIN G.
         2678 MARSH DR.                           ¨ Contingent
         SAN RAMON CA 94583
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $576.50

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.171.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $735.36                 $735.36
         TELLEZ, MARISOL
         520 W PHILLIPS ST                        ¨ Contingent
         ONTARIO CA 91762
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.172.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,626.54               $3,626.54
         TOOMAJIAN, NOELLE C
         1619 HILL ROAD                           ¨ Contingent
         NOVATO CA 94947
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.173.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $606.00                 $606.00
         TUPOU, ALIPATE F
         1239 W FOURTH ST                         ¨ Contingent
         D
         ONTARIO CA 91762                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.174.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $958.62                 $958.62
         VADO, ARMIDA
         8636 KEMPSTER AVE.                       ¨ Contingent
         FONTANA CA 92335
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.175.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $1,657.73               $1,657.73
         VELASQUEZ, RICHARD A
         331 DEBORAH CT                           ¨ Contingent
         UPLAND CA 91784
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.176.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $5,443.32               $5,443.32
         VICTORIA, JEFFREY V
         850 BEECH ST                             ¨ Contingent
         UNIT 102
         SAN DIEGO CA 92101                       ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.177.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,740.84               $3,740.84
         VILLALOBOS, BEATRIZ
         25700 UNIVERSITY COURT                   ¨ Contingent
         APT 103
         HAYWARD CA 94542                         ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.178.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,038.46               $2,038.46
         WAANANEN, AUDREY B
         850 GEARY STREET                         ¨ Contingent
         APT 44
         SAN FRANCISCO CA 94109                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.179.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,003.24               $3,003.24
         WAGNER, JOCELYN M
         1130 65TH ST                             ¨ Contingent
         APT E
         EMERYVILLE CA 94608                      ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.180.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,204.54               $2,204.54
         WELCH, ANTONIETA
         5656 SEXTON LANE                         ¨ Contingent
         RIVERSIDE CA 92509-6663
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.181.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $11,878.75              $11,878.75
         WHITE, ROBYN
         1571 31ST AVE                            ¨ Contingent
         SAN FRANCISCO CA 94122
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.182.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $5,895.74               $5,895.74
         WHITMARSH, BRETT C
         2720 TERRY COURT                         ¨ Contingent
         PINOLE CA 94564
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.183.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $10,143.84              $10,143.84
         WILSON, RON L
         8211 LA SALLE PL                         ¨ Contingent
         RANCHO CUCAMONGA CA 91730-7139
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.184.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,275.35               $2,275.35
         WUNROW, CATHRYN C
         1050 POST STREET                         ¨ Contingent
         #48
         SAN FRANCISCO CA 94109                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.185.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $951.74                 $951.74
         YANEZ, ARMANDO
         18384 DAMIANA LN                         ¨ Contingent
         SAN BERNARDINO CA 92407
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.186.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $2,018.61               $2,018.61
         YARUSHKINA, NATASHA V
         512 HENRY STREET                         ¨ Contingent
         OAKLAND CA 94607
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.187.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $3,078.44               $3,078.44
         YEE, CHRISTOPHER
         3241 SPINNING ROD WAY                    ¨ Contingent
         SACRAMENTO CA 95833
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.188.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $4,507.92               $4,507.92
         ZHANG, YU
         3478 18TH ST APT 5                       ¨ Contingent
         SAN FRANCISCO CA 94110
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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2.189.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $5,009.96               $5,009.96
         ZHAO, ROXANE
         661 39TH AVE                             ¨ Contingent
         SAN FRANCISCO CA 94121
                                                  ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.190.   Priority creditor’s name and mailing     As of the petition filing date, the claim   Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                       $10,155.46              $10,155.46
         ZIRBES, DEANNA R
         1137 BUSH STREET                         ¨ Contingent
         APT 6
         SAN FRANCISCO CA 94109                   ¨ Unliquidated                                                      Nonpriority amount

                                                  ¨ Disputed                                                          $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




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 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

3.         List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors
           with nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.


3.1.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           26 INTERNATIONAL INC                                                                              UNDETERMINED
           1500 S GRIFFITH AVE                               ¨ Contingent
           LOS ANGELES CA 90021
                                                             þ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE PAYABLE - MERCHANDISE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           4 WHAT ITS WORTH INC                                                                              $383,167.72
           5815 SMITHWAY ST                                  ¨ Contingent
           COMMERCE CA 90040
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE PAYABLE - MERCHANDISE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.3.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           505 SONOMA CORP DBA GIC                                                                           $310,641.44
           3812 SEBASTOPOL ROAD                              ¨ Contingent
           SANTA ROSA CA 95407
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE PAYABLE - MERCHANDISE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.4.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         A&O LOGISTICS LLC                                                                                 $12,755.26
         PO BOX 936694                                     ¨ Contingent
         ATLANTA GA 31193-6694
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.5.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AA FASHION INC                                                                                    UNDETERMINED
         2741 E. ALAMEDA STREET                            ¨ Contingent
         LOS ANGELES CA 90058
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.6.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ABLE INDUSTRIAL PRODUCTS, INC.                                                                    $19,604.64
         C/O WAL-FAB, INC.                                 ¨ Contingent
         2006 SO. BAKER AVE.
         ONTARIO CA 91761                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.7.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ABN INC DBA WEAREVER                                                                              $32,175.81
         230 W 39TH STREET 5TH FLOOR                       ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.8.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ACCENT WIRE PRODUCTS, INC.                                                                        $2,719.80
         P.O. BOX 207550                                   ¨ Contingent
         DALLAS TX 75320-7550
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.9.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ACCESSORIES HOUSE NY                                                                              $33,613.37
         10 W.33RD ST SUITE 502                            ¨ Contingent
         NEW YORK NY 10001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.10.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ACE ALLIANCE INC                                                                                  $33,422.62
         4512 S. BROADWAY                                  ¨ Contingent
         LOS ANGELES CA 90037
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.11.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ADESSO INTERNATIONAL                                                                              $7,896.02
         ROOM 1102-5, 11TH FLOOR 9 WING HONG               ¨ Contingent
         STREET
         CHEUNG SHA WAN, KOWLOON                           ¨ Unliquidated
         HONG KONG                                         ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.12.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AILED RAIA                                                                                        $160.00
         1434 E DEL RIO DR                                 ¨ Contingent
         TEMPE AZ 85282
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.13.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AIM INTERNATIONAL INC                                                                             $56,072.37
         16885 VIA DEL CAMPO COURT #318                    ¨ Contingent
         SAN DIEGO CA 92127
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.14.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALEXANDRA LORD                                                                                    $2,000.00
         745 HANSELL STREET SE APT 227                     ¨ Contingent
         ATLANTA GA 30312
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.15.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALEXANDRA M MAY                                                                                   $3,500.00
         4075 SAWTELLE BLVD                                ¨ Contingent
         LOS ANGELES CA 90066
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.16.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALI MAHLSTEDT                                                                                     $22.00
         379 CHENERY STREET                                ¨ Contingent
         SAN FRANCISCO CA 94131
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.17.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALLIANCE COMPANY                                                                                  $19,888.80
         JB11, 11ND FLOOR, KHIRKI EXTN., MALVIYA           ¨ Contingent
         NAGAR,
         NEW DELHI: - 110017                               ¨ Unliquidated
         INDIA                                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.18.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALPARGATAS USA INC DBA HAVAIAN                                                                    $9,580.20
         33 E.33RD ST SUITE 501                            ¨ Contingent
         NEW YORK NY 10016
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.19.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMANDA KELLY LIMITED                                                                              $3,750.00
         142 SOUTHWARK BRIDGE ROAD                         ¨ Contingent
         LONDON SE1 0DG
         UNITED KINGDOM                                    ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.20.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMBIANCE APPAREL                                                                                  $108,983.89
         2415 E 15TH STREET                                ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.21.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMY MANIATIS                                                                                      $85.20
         7 MAGEE AVENUE                                    ¨ Contingent
         MILL VALLEY CA 94941
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.22.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANAHITA GHAZIPOUR                                                                                 $250.00
         107 CAPEBERRY                                     ¨ Contingent
         IRVINE CA 92603
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.23.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANAN ENTERPRISE INC DBA SARAH                                                                     $962,806.97
         LA 2080 E 25TH STREET                             ¨ Contingent
         VERNON CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.24.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANGELIAH CLARKE                                                                                   $1,200.00
         673 CREEKSIDE CIR                                 ¨ Contingent
         GURNEE IL 60031
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.25.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANONA STUDIO, LLC                                                                                 $1,300.00
         PO BOX 137                                        ¨ Contingent
         ERWINNA PA 18920
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.26.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANORA MODE INC                                                                                    $22,120.00
         1015 S. CROCKER ST #S04                           ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.27.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         APOLLO APPAREL GROUP LLC                                                                          UNDETERMINED
         1407 BROADWAY SUITE 2000                          ¨ Contingent
         NEW YORK NY 10018
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.28.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         APPAREL UNITED                                                                                    $3,932.28
         7 COMMUNITY CENTER OKHLA PHASE 2                  ¨ Contingent
         NEW DELHI, 110020,
         INDIA                                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.29.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         APS FINISHING INC                                                                                 $4,910.00
         3165 E SLAUSON AVE                                ¨ Contingent
         VERNON CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.30.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARROW STAFFING SERVICES                                                                           $9,624.36
         499 WEST STATE STREET                             ¨ Contingent
         REDLANDS CA 92373
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.31.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARTISTIC FABRIC & GARMENT                                                                         UNDETERMINED
         39/A BLOCK 6, P.E.C.H.S, SHAHRA-E-FAISAL,         ¨ Contingent
         KARACHI, 75400,
         PAKISTAN                                          þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.32.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARTISTIC MILLINERS (PVT) LTD                                                                      UNDETERMINED
         PLOT NO 4, SECTOR 25, KORANGI INDUSTRIAL          ¨ Contingent
         AREA,
         KARACHI,                                          þ Unliquidated
         PAKISTAN                                          ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.33.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ASA TEXTILE SOURCING S A                                                                          $14,888.76
         OFICINA 301 EDIFICIA AXXIS, AV. ALVAREZ           ¨ Contingent
         CALDERON 185,
         SAN ISIDRO 15073,                                 ¨ Unliquidated
         PERU                                              ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.34.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ASHLEY ELLIS CARTER                                                                               $175.00
         5939 W FRIENDLY AVE APT 55Q                       ¨ Contingent
         GREENSBORO NC 27410
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.35.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ASHLEY MASON LLC                                                                                  $48,680.15
         21224 BEACH BLVD                                  ¨ Contingent
         HUNTINGTON BEACH CA 92648
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.36.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ASIA PACIFIC TRADING CO INC                                                                       $8,528.00
         5132 S ALAMEDA STREET                             ¨ Contingent
         VERNON CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.37.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AUDREY THREE PLUS ONE                                                                             UNDETERMINED
         1100 S. SAN PEDRO ST SUITE N-07                   ¨ Contingent
         LOS ANGELES CA 90015
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.38.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AURA ACCESSORIES LLC                                                                              $19,586.00
         2229 PLAINFIELD PIKE                              ¨ Contingent
         JOHNSTON RI 02919
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.39.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AXESORY SOURCE LLC                                                                                $47,635.77
         11880 COMMUNITY ROAD SUITE 340                    ¨ Contingent
         POWAY CA 92064
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.40.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BABY BLING                                                                                        $1,494.00
         4275 N. THANKSGIVING WAY SUITE 300                ¨ Contingent
         LEHI UT 84043
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.41.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BAILEY BLUE                                                                                       $99,916.17
         1441 E 16TH STREET                                ¨ Contingent
         LOS ANGELES CA 91436
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.42.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BALDWIN SUN INC                                                                                   $120,842.78
         140 N. ORANGE AVE                                 ¨ Contingent
         CITY OF INDUSTRY CA 91744
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.43.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BAO MALALATIANA                                                                                   $500.00
         1101 SOUTH ARLINGTON RIDGE RD APT 217             ¨ Contingent
         ARLINGTON VA 22202
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.44.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BAXTER FAWCETT DESIGN STUDIO                                                                      $525.00
         UNIT A 23A BENWELL RD                             ¨ Contingent
         LONDON 0 N7 7BL
         UNITED KINGDOM                                    ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.45.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BBASE IDG LIMITED                                                                                 $12,339.35
         7F E. WAH FACTORY BUILDING, 56-60 WONG            ¨ Contingent
         CHUK HANG ROAD,
         WONG CHUK HANG,                                   ¨ Unliquidated
         HONG KONG                                         ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.46.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BBC APPAREL GROUP, LLC DBA                                                                        $113,128.12
         DOLLHOUSE                                         ¨ Contingent
         1407 BROADWAY
         NEW YORK NY 10018                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.47.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BBCO INC / LUNACHIX                                                                               $33,129.00
         1753 EAST 21ST STREET                             ¨ Contingent
         LOS ANGELES CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.48.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BC USA                                                                                            $390.00
         101 QUINT ST                                      ¨ Contingent
         SAN FRANCISCO CA 94124
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.49.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BE SOCIAL PUBLIC RELATIONS                                                                        $1,500.00
         844 N GENESEE AVE                                 ¨ Contingent
         LOS ANGELES CA 90046
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.50.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BEAUTIFUL PICTURE PRODUCTIONS,                                                                    $975.00
         1844 TURK ST APT 3                                ¨ Contingent
         SAN FRANCISCO CA 94115
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.51.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BELLE TRENDZ                                                                                      UNDETERMINED
         23552 CANYON VISTA COURT                          ¨ Contingent
         DIAMOND BAR CA 91765
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.52.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BENDIE LLC                                                                                        $552.50
         8906 SW 129 TERRACE                               ¨ Contingent
         MIAMI FL 33176
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.53.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BIOWORLD MERCHANDISING                                                                            UNDETERMINED
         2111 W. WALNUT HILL LANE                          ¨ Contingent
         IRVING TX 75038
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.54.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BIRDS OF OHIO, INC                                                                                $596.75
         249 E. EMERSON AVE SUITE C                        ¨ Contingent
         ORANGE CA 92865
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.55.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLACK DIAMOND ACCESSORIES                                                                         UNDETERMINED
         20 WEST 37TH ST 8TH FL                            ¨ Contingent
         NEW YORK NY 10018
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.56.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLUE DOT USA INC DBA WAX JEAN                                                                     $37,885.61
         2415 EAST 15TH STREET                             ¨ Contingent
         LOS ANGELES CA 90021-2936
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.57.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLUE PLANET INTERNATIONAL INC                                                                     $71,376.00
         1526 E WASHINGTON BLVD                            ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.58.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRAGEL INTERNATIONAL, INC.                                                                        UNDETERMINED
         WANG IP LAW GROUP PC                              þ Contingent
         TOMMY WANG/JEFF KANG
         18645 E GALE AVE                                  þ Unliquidated
         SUITE 205
         CITY OF INDUSTRY CA 91748
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes

3.59.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRAVADO INTERNATIONAL GROUP                                                                       UNDETERMINED
         1755 BROADWAY 2ND FLOOR                           ¨ Contingent
         NEW YORK NY 10019
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.60.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRIDGE REPS, LLC                                                                                  $146,065.31
         420 W 14TH STREET SUITE 6SW                       ¨ Contingent
         NEW YORK NY 10014
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.61.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRITTANY MAIER                                                                                    $1,724.00
         1626 VERA AVENUE                                  ¨ Contingent
         REDWOOD CITY CA 94061
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.62.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         C CENTS KOREA LTD                                                                                 $34,476.90
         1F, COMMON BLDG, 149-18 SAMSUNG-IDONG,            ¨ Contingent
         GANGNAM-GU
         SEOUL, 135-878                                    ¨ Unliquidated
         KOREA                                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.63.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CANVAS PRINT STUDIO                                                                               $4,200.00
         20 WATERSON STREET                                ¨ Contingent
         LONDON 0 E2 8HL
         UNITED KINGDOM                                    ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                               Case number (if known) 19-10215




3.64.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CARMICHAEL INTERNATIONAL SERV                                                                     $218,659.37
         P.O. BOX 51025                                    þ Contingent
         LOS ANGELES CA 90051-5325
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.65.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CARMIN                                                                                            $4,322.10
         1013 CROCKER ST SUITE #7                          ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.66.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASCO EQUIPMENT CORP                                                                              $1,181.86
         4141 FLAT ROCK DRIVE                              ¨ Contingent
         RIVERSIDE CA 92505
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.67.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASEY WIEGAND                                                                                     $1,200.00
         6815 PEMBERTON DR                                 ¨ Contingent
         DALLAS TX 75230
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.68.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASUAL SPORTSWEAR                                                                                 UNDETERMINED
         PLOT NO.1 2 3 14 15 & 16 SEC C KEPZ LANDHI        ¨ Contingent
         KARACHIN
         PAKISTAN                                          þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.69.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CENTURY SOURCING GROUP INC                                                                        $24,516.00
         381 5TH AVE 4TH FLOOR                             ¨ Contingent
         NEW YORK NY 10016
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.70.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLOTTE RUSSE ADMINISTRATION, INC.                                                              UNDETERMINED
         5910 PACIFIC CENTER BLVD                          ¨ Contingent
         SAN DIEGO CA 92121
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AMENDED & RESTATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes

3.71.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLOTTE RUSSE ADMINISTRATION, INC.                                                              UNDETERMINED
         5910 PACIFIC CENTER BLVD                          ¨ Contingent
         SAN DIEGO CA 92121
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AMENDED & RESTATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes

3.72.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLOTTE RUSSE HOLDING, INC.                                                                     UNDETERMINED
         5910 PACIFIC CENTER BLVD                          ¨ Contingent
         SAN DIEGO CA 92121
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AMENDED & RESTATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes




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3.73.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLOTTE RUSSE HOLDING, INC.                                                                     UNDETERMINED
         5910 PACIFIC CENTER BLVD                          ¨ Contingent
         SAN DIEGO CA 92121
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AMENDED & RESTATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes

3.74.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLOTTE RUSSE, INC.                                                                             UNDETERMINED
         5910 PACIFIC CENTER BLVD                          ¨ Contingent
         SAN DIEGO CA 92121
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AMENDED & RESTATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes

3.75.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLOTTE RUSSE, INC.                                                                             UNDETERMINED
         5910 PACIFIC CENTER BLVD                          ¨ Contingent
         SAN DIEGO CA 92121
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AMENDED & RESTATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes




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3.76.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHERRY DESIGN PARTNERS LLC                                                                        $1,575.00
         147 WEST 35TH STREET/SUITE #307                   ¨ Contingent
         NEW YORK NY 10001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.77.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHIARA ALLEN                                                                                      $50.00
         3359 GLACIER DR                                   ¨ Contingent
         LAKE ORION MI 48360
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.78.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHRIS MOCK                                                                                        $6,440.00
         102 FREDERICK ST APT B                            ¨ Contingent
         SAN FRANCISCO CA 94117
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.79.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF ONTARIO                                                                                   $4,594.76
         BUSINESS LICENSE DIVISION                         ¨ Contingent
         P.O.BOX 3247
         ONTARIO CA 91761-0925                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.80.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLEAN MANAGEMENT ENVIRONMENTAL                                                                    $553.00
         P.O. BOX 1606                                     ¨ Contingent
         WALTERBORO SC 29488
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.81.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CNTEX INDUSTRY CO LTD                                                                             $34,237.96
         7/F, RMS. 14-16, PHOENIX TOWER, 30                ¨ Contingent
         FENGHUANG RD., JIANGYIN,
         JIANGYIN, JIANGSU                                 ¨ Unliquidated
         CHINA (214400)                                    ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.82.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COLLEEN APGAR                                                                                     $6,240.00
         1628 18TH AVENUE                                  ¨ Contingent
         SAN FRANCISCO CA 94122
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.83.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COLOR STORY INC.                                                                                  $101,592.61
         3257 E. 26TH ST                                   ¨ Contingent
         VERNON CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.84.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COLUMBIA OMNICORP                                                                                 $20.10
         14 WEST 33RD ST                                   ¨ Contingent
         NEW YORK NY 10001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.85.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CONTEMPO BY JUSTIN TAYLOR INC                                                                     UNDETERMINED
         1458 S. SAN PEDRO ST #209                         ¨ Contingent
         LOS ANGELES CA 90015
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.86.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CONTINENTAL CONCESSION SUPPLIE                                                                    $119,464.19
         PO BOX 951080                                     ¨ Contingent
         DALLAS TX 75395-1080
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.87.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COPERNICUS TOYS                                                                                   $720.00
         570 EXPLORERS RD                                  ¨ Contingent
         CHARLOTTESVILLE VA 22911
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.88.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CRISTALS                                                                                          UNDETERMINED
         128 CHARLOTTE AVE                                 ¨ Contingent
         HICKSVILLE NY 11801
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.89.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         D&D DISTRIBUTING WHOLESALE INC                                                                    $704.00
         14615 C ST S                                      ¨ Contingent
         TACOMA WA 98444
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.90.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DALAR KHODAGHOLIAN                                                                                $280.00
         9648 AMANITA AVE                                  ¨ Contingent
         TUJUNGA CA 91042
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.91.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DANBEE INC                                                                                        $176,042.74
         3360 E PICO BLVD                                  ¨ Contingent
         LOS ANGELES CA 90026
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.92.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DECISIONPOINT SYSTEMS CA, INC                                                                     $10,911.15
         PO BOX 51480                                      ¨ Contingent
         LOS ANGELES CA 90051-6311
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.93.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEVON BERT                                                                                        $1,850.00
         1600 LARKIN ST APT 101                            ¨ Contingent
         SAN FRANCISCO CA 94109
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.94.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DISENO ACMM SAC                                                                                   $46,129.10
         AV. INDUSTRIAL 245 URBANIZACION LOS               ¨ Contingent
         AYLLUS ATE
         LIMA                                              ¨ Unliquidated
         PERU                                              ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.95.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DOUBLE H SOURCING                                                                                 $506,516.91
         #906, CRESCO B/D, 114, GWANGJANG-DONG,            ¨ Contingent
         GWANGJIN-GU,
         SEOUL                                             ¨ Unliquidated
         KOREA                                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.96.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DOUBLE ZERO INC                                                                                   UNDETERMINED
         2833 LEONIS BLVD SUITE 201-209                    ¨ Contingent
         VERNON CA 90058
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.97.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DOUGLAS CO INC                                                                                    $4,986.00
         69 KRIF ROAD                                      ¨ Contingent
         KEENE NH 03431
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.98.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DREAM CATCHER DBA AMELOTTE                                                                        UNDETERMINED
         INTERNATIONAL CORPORATION                         ¨ Contingent
         213 WEST 35TH ST., SUITE 302
         NEW YORK NY 10001                                 þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.99.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DRT TRANSPORTATION                                                                                $69,541.46
         850 HELEN DRIVE                                   þ Contingent
         LEBANON PA 17042
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.100.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DT MODEL MANAGEMENT                                                                               $1,200.00
         883 WESTBOURNE DRIVE                              ¨ Contingent
         WEST HOLLYWOOD CA 90069
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.101.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EAST LION CORP                                                                                    $1,596,753.44
         318 BREA CANYON RD                                ¨ Contingent
         CITY OF INDUSTRY CA 91789
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.102.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EDGE ACCESSORIES LIMITED                                                                          $10,285.60
         389 FIFTH AVENUE, SUITE 205,                      ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.103.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELIZABETH MONTANO                                                                                 $200.00
         15435 GARO STREET                                 ¨ Contingent
         HACIENDA HEIGHTS CA 91745
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.104.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELLA L CLOTHING INC                                                                               $563,540.02
         16828 ARMSTEAD ST                                 ¨ Contingent
         GRANDA HILLS CA 91344
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.105.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELLEN CLOTHING INC                                                                                UNDETERMINED
         1866 E. 46TH ST                                   ¨ Contingent
         LOS ANGELES CA 90058
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.106.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELLIAN                                                                                            $49,925.54
         6725 SAN FERNANDO RD.                             ¨ Contingent
         GLENDALE CA 91201
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.107.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EMANUEL GERALDO ACCESSORIES IN                                                                    $222.00
         160 PORT ROYAL WEST, MONTREAL,                    ¨ Contingent
         QC, H3L 3N1,
         CANADA                                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.108.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ENCHANTE ACCESSORIES                                                                              $34,260.48
         16 EAST 34TH STREET 16TH FLOOR                    ¨ Contingent
         NEW YORK NY 10016
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.109.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ENESCO LLC                                                                                        $1,200.00
         225 WINDSOR DRIVE                                 ¨ Contingent
         ITASCA IL 60143
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.110.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ENTRY INC                                                                                         UNDETERMINED
         766 E.12TH ST #C                                  ¨ Contingent
         LOS ANGELES CA 90021
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.111.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ESKA INC DBA SPICEWEAR                                                                            $351,774.60
         3631 UNION PACIFIC AVE                            ¨ Contingent
         LOS ANGELES CA 90023
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.112.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ESSIE GOLDEN                                                                                      $2,000.00
         636 DIELLEN LANE                                  ¨ Contingent
         ELMONT NY 11003
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.113.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ET2C INTERNATIONAL INC.                                                                           UNDETERMINED
         23 WANGJIAO PLAZA 175 EAST YAN AN ROAD            ¨ Contingent
         SHANGHAI
         CHINA 200002                                      þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.114.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EVAN GRAY                                                                                         $1,300.00
         1850 GROVE ST APT 1                               ¨ Contingent
         SAN FRANCISCO CA 94117
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.115.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EYEKING LLC                                                                                       $2,284.80
         10 HUB DRIVE SUITE 104                            ¨ Contingent
         MELVILLE NY 11747
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.116.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FANTAS-EYES                                                                                       $59,098.41
         385 5TH AVE 9TH FL                                ¨ Contingent
         NEW YORK NY 10016
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.117.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FANTASIA ACCESSORIES LTD                                                                          $579.77
         31 WEST 34TH ST 5TH FL                            ¨ Contingent
         NEW YORK NY 10001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.118.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FANTASY FILES INC.                                                                                $458.50
         557 JESSIE ST                                     ¨ Contingent
         SAN FERNANDO CA 91340
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.119.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FASHION AND PEOPLE INC                                                                            $33,672.95
         DBA TRAC                                          ¨ Contingent
         4641 PACIFIC BLVD
         VERNON CA 90058                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.120.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FASHION DEBUT DBA DEBUT                                                                           $81,299.00
         1015 S CROCKER STREET Q14                         ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.121.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FASHION WILDCAT                                                                                   $74,308.31
         164 W JEFFERSON BLVD                              ¨ Contingent
         LOS ANGELES CA 90007
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.122.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FATIMA YAHYA                                                                                      $200.00
         9834 WESTMINSTER DRIVE                            ¨ Contingent
         HUMBLE TX 77338
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.123.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FEDEX ERS                                                                                         $1,191,908.63
         P.O. BOX 371741                                   þ Contingent
         PITTSBURGH PA 15250-7741
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.124.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FEED.FM                                                                                           $5,000.00
         845 MARKET ST. STE 450                            ¨ Contingent
         SAN FRANCISCO CA 94103
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.125.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FINELINE TECHNOLOGIES                                                                             $3,414.01
         P.O. BOX 934219                                   ¨ Contingent
         ATLANTA GA 31193-4219
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.126.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FINESSE NOVELTY CORP.                                                                             $57,569.50
         30 COMMERCIAL CT                                  ¨ Contingent
         PLAINVIEW NY 11803
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.127.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FORTUNE DYNAMIC INC                                                                               $639,487.54
         21923 FERRERO PARKWAY                             ¨ Contingent
         CITY OF INDUSTRY CA 91789
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.128.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FOUND DESIGN STUDIO                                                                               $550.00
         UNIT 17 MARLOW WORKSHOPS CALVERT                  ¨ Contingent
         AVENUE
         LONDON E2 7JN                                     ¨ Unliquidated
         UNITED KINGDOM                                    ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.129.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FOUR HOUSE SOURCING PVT LTD                                                                       $20,884.80
         E-101, PLOT NO-12, SECTOR-22, UDYOG VIHAR         ¨ Contingent
         CGHS APARTMENTS, PHASE-1 DWARKA
         NEW DELHI DL 110078                               ¨ Unliquidated
         INDIA                                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.130.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FREEDOM MODELS                                                                                    $23,302.27
         820 NORTH FAIRFAX AVE.                            ¨ Contingent
         WEST HOLLYWOOD CA 90046
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.131.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FRESH OF LA, INC.                                                                                 $61,091.60
         2260 E 15TH STREET                                ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.132.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FRIENDS GARMENT                                                                                   $35,327.00
         605,PHASE-V,UDYOG VIHAR                           ¨ Contingent
         GURGAON-122001,HARYANA,
         INDIA                                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.133.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GATES CREATIVE LLC                                                                                $5,924.46
         17 W 17TH ST SUITE 705                            ¨ Contingent
         NEW YORK NY 10011
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.134.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GEAN REY YIP                                                                                      $400.00
         3726 STARR KING CIRCLE                            ¨ Contingent
         PALO ALTO CA 94306
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.135.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GINA GROUP, LLC                                                                                   $1,961.84
         10 WEST 33RD STREET SUITE 312                     ¨ Contingent
         NEW YORK NY 10001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.136.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GLOBAL CAPITAL FASHION INC                                                                        $756,717.33
         247 WEST 35TH ST 11 FLOOR FRONT                   ¨ Contingent
         NEW YORK NY 10001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.137.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GLOBAL FASHION RESOURCE INC                                                                       $177,115.55
         1820 W. CARSON ST 202-273                         ¨ Contingent
         TORRANCE CA 90501
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.138.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GMA SHANGHAI BRANCH                                                                               $84,574.40
         ROOM 802,HUALING BUILDING,NO. 3062 YAN'AN         ¨ Contingent
         RD.(W)
         SHANGHAI, 201103,                                 ¨ Unliquidated
         CHINA                                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.139.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GNF CO                                                                                            $1,508.20
         4FL, 190-8, BANG EE DONG SONGPA GU                ¨ Contingent
         SEOUL 138-050
         KOREA                                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.140.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GOLDEN TOUCH IMPORTS INC                                                                          UNDETERMINED
         1410 BROADWAY 8TH FLOOR                           ¨ Contingent
         NEW YORK NY 10018
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.141.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREAT FINDINGS INC                                                                                $42,723.48
         1852 E.46TH ST                                    ¨ Contingent
         LOS ANGELES CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.142.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREG ABRAHAM                                                                                      $500.00
         646 KENNEDY STREET APT 108                        ¨ Contingent
         OAKLAND CA 94606
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.143.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GXS INC                                                                                           $376.65
         LOCK BOX 29144 NETWORK PLACE                      ¨ Contingent
         CHICAGO IL 60673-1291
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.144.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HACHETTE BOOK GROUP                                                                               $1,638.77
         53 STATE ST                                       ¨ Contingent
         BOSTON MA 02109
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.145.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HANNAH LEE WEINSTEIN                                                                              $350.00
         118 PLANTERS CREEK DR                             ¨ Contingent
         BALDWIN GA 30511
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.146.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HARPER COLLINS PUBLISHERS                                                                         $539.70
         56 GLEN MAURA NATZ BLVD SUITE 300                 ¨ Contingent
         MOOSIC PA 18507-2132
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.147.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HEARST MAGAZINE                                                                                   $20,044.00
         P.O. BOX 90002                                    ¨ Contingent
         PESCOTT AZ 86304-9002
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.148.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HEART & HIPS                                                                                      $33,028.20
         2424 E. 26TH STREET                               ¨ Contingent
         VERNON CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.149.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HELLO SHISO                                                                                       $864.00
         3050 HILLEGASS AVE                                ¨ Contingent
         BERKELEY CA 94705
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.150.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HER STUDIO LONDON                                                                                 $1,050.00
         205 THE PILL BOX 115 COVENTRY ROAD                ¨ Contingent
         LONDON E26GG
         UNITED KINGDOM                                    ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.151.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HESPERUS                                                                                          UNDETERMINED
         1000 S. SAN PEDRO ST                              ¨ Contingent
         LOS ANGELES CA 90021
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.152.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HIDDEN JEANS DBA CELLO JEANS                                                                      $14,396.90
         1001 TOWNE AVE #103                               ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.153.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HOLD THIS INC DBA GOODIE TWO                                                                      $68,423.40
         9400 LURLINE AVE C2                               ¨ Contingent
         CHATSWORTH CA 91311
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.154.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HUNTCITY INC                                                                                      $296,666.45
         110 E.9TH ST SUITE B541                           ¨ Contingent
         LOS ANGELES CA 90079
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.155.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HYFVE INC.                                                                                        $3,346.44
         5808 WILMINGTON AVE                               ¨ Contingent
         HUNTINGTON PARK CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.156.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         IKNIT GROUP LLC                                                                                   $83,807.86
         5901 WEST SIDE AVE 7N                             ¨ Contingent
         NORTH BERGEN NJ 07047
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.157.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INFINITY CREATIVE AGENCY LLC                                                                      $19,014.19
         843 S. LOS ANGELES ST SUITE 200                   ¨ Contingent
         LOS ANGELES CA 90014
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.158.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INGRAM PUBLISHER DBA PERSEUS                                                                      $383.49
         210 AMERICAN DRIVE                                ¨ Contingent
         JACKSON TN 38301
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.159.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INTERNATIONAL ARRIVALS                                                                            $570.00
         3923 OCEANIC DRIVE #100                           ¨ Contingent
         OCEANSIDE CA 92056
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.160.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         IRIS FASHION                                                                                      $2,695.00
         14113 183RD ST                                    ¨ Contingent
         CERRITOS CA 90703
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.161.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JAINSON'S INTERNATIONAL INC                                                                       $350,892.58
         7526 TYRONE AVE                                   ¨ Contingent
         VAN NUYS CA 91405
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.162.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JANIS THOOLEN                                                                                     $175.00
         729 JONES STREET #112                             ¨ Contingent
         SAN FRANCISCO CA 94109
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.163.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JESSICA BRADLEY                                                                                   $32.85
         550 GRAVES AVE #6                                 ¨ Contingent
         EL CAJON CA 92020
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.164.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JESSMYN IN USA                                                                                    $593,339.84
         2080 E.25TH ST                                    ¨ Contingent
         VERNON CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.165.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JOHN MCNEIL STUDIO, LLC                                                                           $98,000.00
         720 CHANNING WAY                                  ¨ Contingent
         BERKELEY CA 94710
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.166.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JORGE BARDINA PRODUCTIONS LLC                                                                     $800.00
         300 16TH AVE #303                                 ¨ Contingent
         SAN FRANCISCO CA 94118
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.167.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JP ORIGINAL CORP                                                                                  $679,195.80
         19101 E WALNUT DRIVE NORTH                        ¨ Contingent
         CITY OF INDUSTRY CA 91748
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.168.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JULIE OLMSTEAD                                                                                    $900.00
         255 MONTEREY BOULEVARD                            ¨ Contingent
         SAN FRANCISCO CA 94131
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.169.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JUST ONE LLC                                                                                      $29,345.00
         1450 BROADWAY 21ST FLOOR                          ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.170.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JYHS INC                                                                                          $25,068.24
         738 E. 14TH ST UNIT # B                           ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.171.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KAIRA INC                                                                                         $13,397.75
         PLOT NO-32 PACE CITY-1 SECTOR-37                  ¨ Contingent
         GURGAON HARYANA 122008
         INDIA                                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.172.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KARMA KREATIONS                                                                                   $44,121.30
         1630 S GROVE AVE #B                               ¨ Contingent
         ONTARIO CA 91761
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.173.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KATELYN ANDERSON                                                                                  $1,535.53
         812 ELM STREET                                    ¨ Contingent
         EL CERRITO CA 94530
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.174.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KATELYN USA                                                                                       UNDETERMINED
         110 E.9TH ST #A807                                ¨ Contingent
         LOS ANGELES CA 90079
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.175.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KATELYN VAN DIEM PHUONG HOANG                                                                     $300.00
         5201 W IRONWOOD DR                                ¨ Contingent
         GLENDALE AZ 85302
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.176.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KELLY SOLTIS                                                                                      $1,147.22
         430 MONTEREY BLVD.                                ¨ Contingent
         SAN FRANCISCO CA 94127
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.177.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KIKKERLAND DESIGN                                                                                 $192.00
         666 BROADWAY 4TH FL                               ¨ Contingent
         NEW YORK NY 10012
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.178.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KIMERA INTERNATIONAL INC DBA                                                                      $19,813.20
         LILIANA SHOES 18400 SAN JOSE AVE                  ¨ Contingent
         CITY OF INDUSTRY CA 91748
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.179.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KING JOHN CLOTHING INC                                                                            $10.42
         11490 WRIGHT RD                                   þ Contingent
         LYNWOOD CA 90262
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.180.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KINGSBURG INDUSTRIES CO LTD                                                                       $110,720.24
         19C UNITED CENTRE 95 QUEENSWAY,                   ¨ Contingent
         ADMIRALTY
         HONG KONG                                         ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.181.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KINGSTON VENTURES                                                                                 $772.50
         508 4TH STREET                                    ¨ Contingent
         SAN FRANCISCO CA 94107
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.182.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KIRCHHOFF STUDIOS LLC                                                                             $700.22
         600 DIMMICK DRIVE                                 ¨ Contingent
         LOS ANGELES CA 90065
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.183.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KNF JEWELRY CO LTD                                                                                $4,425.00
         FUXING ROAD WALI INDUSTRY PARK                    ¨ Contingent
         CHENGYANG DISTRICT
         QINGDAO 266108                                    ¨ Unliquidated
         CHINA                                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.184.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KNITWORK PRODUCTIONS II LLC                                                                       UNDETERMINED
         DBA SAYWHAT                                       ¨ Contingent
         1410 BROADWAY, 24TH FLOOR
         NEW YORK NY 10018                                 þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.185.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KNY CLOTHING DBA YIPEE                                                                            $843,547.58
         1662 LONG BEACH AVE                               ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.186.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KRISTINA CASAREZ                                                                                  $14,840.00
         1362 TOFTS DRIVE                                  ¨ Contingent
         SAN JOSE CA 95131
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.187.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KYUNG KWANG COMMERCIAL CO LTD                                                                     $155,910.95
         7F WOO CHANG PLAZA, 494-2 DAPSIPLI-DONG           ¨ Contingent
         SEOUL, 135-805,
         REPUBLIC OF KOREA                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.188.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         L.A. MODELS                                                                                       $2,676.71
         7700 SUNSET BOULEVARD                             ¨ Contingent
         LOS ANGELES CA 90046
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.189.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LA GYPSY INC                                                                                      $129,188.16
         800 MCGARRY ST SUITE 5                            ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.190.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LABELTRONIX                                                                                       $6,619.98
         2419 E WINSTON ROAD                               ¨ Contingent
         ANAHEIM CA 92806
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.191.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAUREN LONCAR STUDIO                                                                              $7,798.68
         98 PIONEER STREET #2                              ¨ Contingent
         BROOKLYN NY 11231
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.192.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LE MEILLEUR INC                                                                                   $3,628.80
         3055 FRUITLAND AVE                                ¨ Contingent
         VERNON CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.193.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LEGEND FOOTWEAR INC                                                                               $737,200.87
         19445 E WALNUT DR N                               ¨ Contingent
         CITY OF INDUSTRY CA 91789
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.194.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LEITZES & CO.                                                                                     $26,000.00
         ATTN: CARY LEITZES                                ¨ Contingent
         407 BROOME STREET STE.4A
         NEW YORK NY 10013                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.195.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LENOVATI INC DBA 3ENA                                                                             $58,159.57
         540 E. JEFFERSON BLVD                             ¨ Contingent
         LOS ANGELES CA 90011
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.196.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LIMONATA                                                                                          UNDETERMINED
         1570 E. 23RD STREET                               ¨ Contingent
         LOS ANGELES CA 90011
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.197.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LIVINGSTON INTERNATIONAL, INC.                                                                    $2,739.87
         P.O.BOX 920                                       þ Contingent
         BUFFALO NY 14213
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.198.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LIZ CASELLA LLC                                                                                   $1,050.00
         THE COOPER DESIGN SPACE                           ¨ Contingent
         860 S LOS ANGELES ST., #708
         LOS ANGELES CA 90014                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.199.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOGISTYX TECHNOLOGIES, LLC                                                                        $3,807.00
         75 REMITTANCE DR. DEPT 6682                       ¨ Contingent
         CHICAGO IL 60675-6682
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.200.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOLLI 37 DESIGNS INC                                                                              $2,688.00
         101A-1147 BLACKSMITH PL                           ¨ Contingent
         RICHMOND BC V7A 4T7
         CANADA                                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.201.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOUISE PARIS, LTD                                                                                 $137,292.05
         1407 BROADWAY SUITE 1405                          ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.202.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOVE VINTAGE INC                                                                                  $331,576.65
         3435 S.BROADWAY ST #A                             ¨ Contingent
         LOS ANGELES CA 90007
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.203.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LUCCI COUTURE INC                                                                                 $37,337.20
         1013 S. LOS ANGELES ST 2ND FL                     ¨ Contingent
         LOS ANGELES CA 90015
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.204.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LUCENT PRODUCT, INC.                                                                              $7,095.00
         5515 DANIELS STEET                                ¨ Contingent
         CHINO CA 91710
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.205.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LULU ARTISTS COLLECTIVE                                                                           $17,343.50
         556 SAN ANSELMO AVE                               ¨ Contingent
         SAN ANSELMO CA 94960
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.206.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LULUMARI INC                                                                                      UNDETERMINED
         754 E.12TH ST #2                                  ¨ Contingent
         LOS ANGELES CA 90021
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.207.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LUX ACCESSORIES                                                                                   UNDETERMINED
         358 5TH AVE 5TH FL                                ¨ Contingent
         NEW YORK NY 10001
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.208.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LUXE FIT MODELS                                                                                   $585.00
         9415 CULVER BLVD                                  ¨ Contingent
         CULVER CITY CA 90232
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.209.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LYFT INC                                                                                          $6,811.18
         ATTN: ACCOUNTS RECEIVABLE                         ¨ Contingent
         185 BERRY ST SUITE 5000
         SAN FRANCISCO CA 94107                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.210.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MACHINE JEANS                                                                                     $2,536.13
         1015 S CROCKER STREET R26                         ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.211.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MADE IN BRIGHTON                                                                                  $2,100.00
         34 BAYHAM ROAD                                    ¨ Contingent
         BRISTOL BS42DR
         UNITED KINGDOM                                    ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.212.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MAESA LLC                                                                                         $483,180.20
         40 WORTH ST SUITE 705                             ¨ Contingent
         NEW YORK NY 10013
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.213.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MAGICFOREST LTD                                                                                   $399.00
         300 WEST RD SUITE # 3                             ¨ Contingent
         PORTSMOUTH NH 03820
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.214.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MANAGING PERSONNEL SERVICES                                                                       $5,078.01
         3400 INLAND EMPIRE BLVD #150                      ¨ Contingent
         ONTARIO CA 91764
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.215.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARAN INC DBA SQUEEZE                                                                             UNDETERMINED
         1411 BROADWAY 5TH FL                              ¨ Contingent
         NEW YORK NY 10018
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.216.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARISSA WALKER                                                                                    $328.53
         10 WILSON CIRCLE                                  ¨ Contingent
         BERKELEY CA 94708
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.217.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARK EDWARDS APPAREL INC.                                                                         $29,307.46
         8480 RUE JEANNE MANCE                             ¨ Contingent
         MONTREAL QC H2P 2S3
         CANADA                                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.218.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARKISHA BURRIES                                                                                  $1,700.00
         2427 APRIL LIU LANE #310                          ¨ Contingent
         CHARLOTTE NC 28213
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.219.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARLA DELL TALENT, INC.                                                                           $1,080.00
         2124 UNION ST SUITE C                             ¨ Contingent
         SAN FRANCISCO CA 94123
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.220.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MAVERICK APPAREL                                                                                  $40,585.47
         1384 BROADWAY SUITE 1604                          ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.221.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MAXBERRY T&I                                                                                      $60,530.29
         XI JIAO CUN, HUAN XIU JIE DAO JI MO               ¨ Contingent
         SHANDONG
         CHINA                                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.222.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MAXIMUM EQUIPMENT &                                                                               $1,269.51
         TECHNICAL SERVICES                                ¨ Contingent
         1665 W ARROW RTE STE B
         UPLAND CA 91786                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.223.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MCMASTER-CARR SUPPLY CO.                                                                          $4,503.68
         P.O. BOX 7690                                     ¨ Contingent
         CHICAGO IL 60680-7690
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.224.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MEAGHAN SCHULTZ                                                                                   $19.62
         6442 FLAGLER DR                                   ¨ Contingent
         GULF BREEZE FL 32563
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.225.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MEBON                                                                                             $13,405.50
         1001 TOWNE AVE                                    ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.226.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MEDICINE CHEST SERVICES                                                                           $892.55
         3303 HARBOR BLVD BUILDING J, UNIT 3               ¨ Contingent
         COSTA MESA CA 92626
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.227.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MELISSA GALLIANO                                                                                  $6,600.00
         570 SANTA RAY AVENUE                              ¨ Contingent
         OAKLAND CA 94610
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.228.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MELISSA HUGHES                                                                                    $276.42
         2665 SACRAMENTO ST                                ¨ Contingent
         SAN FRANCISCO CA 94115
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.229.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MEZZANINE USA INC                                                                                 $889,861.34
         1015 S CROCKER ST. R29                            ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.230.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MH CONCEPTS LTD                                                                                   $15.00
         UNIT E1 31/F TG PLACE 10 SH KWUN TONG             ¨ Contingent
         KOWLOON LIMA
         PERU                                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.231.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MICAELA VERRELIEN                                                                                 $2,000.00
         312 SCHENECTADY AVE APT D1                        ¨ Contingent
         BROOKLYN MA 11213
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.232.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MIRAGE FASHION OF NY LLC                                                                          $54.00
         1410 BROADWAY SUITE 505                           ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.233.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MISS AVENUE                                                                                       UNDETERMINED
         1016 TOWNE AVE STE #102                           ¨ Contingent
         LOS ANGELES CA 90021
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.234.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MODEL TWO MANAGEMENT                                                                              $9,046.80
         8438 MELROSE PLACE 2ND FLOOR                      ¨ Contingent
         LOS ANGELES CA 90069
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.235.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MONOCRACY INC DBA RATHER BE                                                                       $81,072.11
         6001 E. WASHINGTON BLVD, UNIT #B                  ¨ Contingent
         COMMERCE CA 90040
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.236.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MP LOS ANGELES, LLC                                                                               $3,492.40
         400 N. MICHIGAN AVE. STE 700                      ¨ Contingent
         CHICAGO IL 60611
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.237.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MS. BUBBLES, INC.                                                                                 UNDETERMINED
         2731 S. ALAMEDA STREET                            ¨ Contingent
         LOS ANGELES CA 90058
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.238.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MUCH TOO MUCH                                                                                     $128,185.04
         3000 WEST EMPIRE AVE                              ¨ Contingent
         BURBANK CA 91504
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.239.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MYTH CLOTHING COMPANY INC                                                                         UNDETERMINED
         525 FASHION AVE #1010                             ¨ Contingent
         NEW YORK NY 10018
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.240.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NAILMATIC CORP                                                                                    $1,134.00
         404 5TH AVE 6TH FL                                ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.241.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NATIVE CANADA FOOTWEAR LTD                                                                        $7,200.00
         225 W. 35TH STREET,                               ¨ Contingent
         NEW YORK NY 10001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.242.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NEXT MANAGEMENT, LLC                                                                              UNDETERMINED
         15 WATTS STREET                                   ¨ Contingent
         NEW YORK NY 10013
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.243.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NINGBO ORIENT HONGYE IMP & EXP                                                                    $319,574.41
         NO 281, QIYUN ROAD, DUAN TANG NAN MEN,            ¨ Contingent
         NINGBO ZHEJIANG PROVINCE, 315012
         CHINA                                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.244.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NYLON INTERNATIONAL LLC                                                                           $64,718.17
         224 SOUTH VAN BRUNT ST                            ¨ Contingent
         ENGLEWOOD NJ 07631
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.245.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OH YES FASHION                                                                                    $51,170.97
         855 W. WALNUT STREET                              ¨ Contingent
         COMPTON CA 90220
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.246.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ONTT USA INC DBA BLUSH PINK                                                                       $4,625.31
         1458 S.SAN PEDRO ST #132                          ¨ Contingent
         LOS ANGELES CA 90015
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.247.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ORACLE AMERICA INC                                                                                $440,455.32
         500 ORACLE PKWY                                   ¨ Contingent
         REDWOOD CITY CA 94065
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.248.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ORCHID LOVE INC                                                                                   $4,750.55
         2731 SOUTH ALAMEDA ST                             ¨ Contingent
         LOS ANGELES CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.249.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         P&A FASHION                                                                                       $25,039.42
         738 E. 14TH ST SUITE H                            ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.250.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PAK WEST                                                                                          $15,208.15
         4042 WEST GARRY AVENE                             ¨ Contingent
         SANTA ANA CA 92704
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.251.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PANTIES PLUS INC                                                                                  $108,849.93
         320 FIFTH AVENUE SECOND FLOOR                     ¨ Contingent
         NEW YORK NY 10001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.252.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PATTERN TEXTILES LIMITED                                                                          $4,240.00
         UNIT 206 15 PUNDERSONS GARDENS                    ¨ Contingent
         LONDON E2 9QG
         UNITED KINGDOM                                    ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.253.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PEGGY E. JEAN                                                                                     $1,200.00
         1586 E 55 STREET APT #2                           ¨ Contingent
         BROOKLYN NY 11234
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.254.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PENGUIN RANDOM HOUSE LLC                                                                          $2,391.78
         1745 BROADWAY                                     ¨ Contingent
         NEW YORK NY 10019
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.255.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PERUVIAN FIT SAC                                                                                  $69,250.80
         CALLE "R" MZ X1 LOTE 12 URB. R LUCYANA DE         ¨ Contingent
         CARABAYLLO
         LIMA,                                             ¨ Unliquidated
         PERU                                              ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.256.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PHOTOSOPHIC, INC.                                                                                 $10,714.36
         129 BULKHEAD ST.                                  ¨ Contingent
         SANTA CRUZ CA 95060
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.257.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PIXLEE INC                                                                                        $7,000.00
         625 MARKET STREET 9TH FLOOR                       ¨ Contingent
         SAN FRANCISCO CA 94105
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.258.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         POPSUGAR INC.                                                                                     $125,000.00
         111 SUTTER STREET SUITE 1600                      ¨ Contingent
         SAN FRANCISCO CA 94104
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.259.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRINT STORIES LTD                                                                                 $1,050.00
         1A STRONSA ROAD                                   ¨ Contingent
         LONDON,W129LB
         UNITED KINGDOM                                    ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.260.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRIORITY FULFILLMENT SERVICES                                                                     $1,488,317.55
         505 MILLENNIUM DR                                 þ Contingent
         ALLEN TX 75013
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.261.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRISTINE PARKING, INC                                                                             $4,500.00
         391 29TH STREET APT # 2                           ¨ Contingent
         SAN FRANCISCO CA 94131
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.262.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRIZMA DIGITAL, LLC                                                                               $15,000.00
         1217 YALE STREET SUITE 111                        ¨ Contingent
         SANTA MONICA CA 90404
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.263.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRODUCT DEVELOPMENT INTL.                                                                         $305,680.67
         1350 BROADWAY SUITE 601                           ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.264.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PROJECT 28 CLOTHING, LLC.                                                                         $2,195.50
         525 7TH AVE, 12TH FL                              ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.265.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PUROLATOR INC.                                                                                    $2,937.57
         TWO JERICHO PLAZA SUITE 204                       þ Contingent
         JERICHO NY 11753
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.266.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         QINGDAO HANIL JEWELRY CO LTD                                                                      $17,965.50
         QIANZAOHANG INDUSTRY PARK, JIMO                   ¨ Contingent
         DISTRICT,
         QINGDAO, SHANDONG                                 ¨ Unliquidated
         CHINA                                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.267.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         QINGDAO JOOHOO JEWELRY CO LTD                                                                     $75,254.74
         QIANSHEQU DABEIQU CHENGYANG JIEDAO                ¨ Contingent
         CHENGYANGQU
         QINGDAO                                           ¨ Unliquidated
         CHINA                                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.268.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         R AHN                                                                                             $394,851.43
         2115 E. ANDERSON ST                               ¨ Contingent
         VERNON CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.269.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAGE THE MODEL AGENCY                                                                             $1,296.00
         23679 CALABASAS ROAD SUITE 501                    ¨ Contingent
         CALABASAS CA 91302
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.270.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAGGS 2 RICHES                                                                                    UNDETERMINED
         2288 E.49TH ST                                    ¨ Contingent
         VERNON CA 90058
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.271.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAKUTEN CARD LINKED OFFER                                                                         $3,084.94
         800 CONCAR DRIVE                                  ¨ Contingent
         SAN MATEO CA 94402
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.272.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAKUTEN MARKETING, LLC                                                                            $270,400.50
         P.O. BOX 415613                                   ¨ Contingent
         BOSON MA 02241-5613
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.273.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAQUEL H RIVERA                                                                                   $250.00
         277 7TH STREET APT 4A                             ¨ Contingent
         BROOKLYN NY 11215
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.274.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAR PICTURES                                                                                      $2,600.00
         490 LAKE PARK AVE #16013                          ¨ Contingent
         OAKLAND CA 946610
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.275.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAYMOND HANDLING SOLUTIONS INC                                                                    $44,920.93
         FILE 1700 1801 W OLYMPIC BLVD                     ¨ Contingent
         PASADENA CA 91199-1700
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.276.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REAL ACCESSORIES CO LTD                                                                           UNDETERMINED
         588 CHUNHUA RD BLDG C1 - SUITE 318                ¨ Contingent
         BEIYUAN YIWU ZHEJIANG
         CHINA 322000                                      þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.277.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REALPLAY CORP. DBA RIPLAY                                                                         $863,313.65
         18350 SAN JOSE AVE                                ¨ Contingent
         CITY OF INDUSTRY CA 91748
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.278.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REGENT-SUTTON LLC                                                                                 $182,838.50
         1411 BROADWAY 8TH FLOOR                           ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.279.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RHAPSODY CLOTHING INC DBA                                                                         $489,808.04
         EPILOGUE 2222 E OLYMPIC BLVD                      ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.280.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RIO SUL SA DE CV                                                                                  UNDETERMINED
         ANT CAMINO A RESURRECCION #10610-A, COL,          ¨ Contingent
         SANTA ROSA PUEBLA 72228
         MEXICO                                            þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.281.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RJB STONE DBA SASS AND BELLE                                                                      $296.06
         UNIT 134-135 BATTERSEA BUSINES CENTRE 99-         ¨ Contingent
         109 LAVENDER HILL
         LONDON SW11 5QL                                   ¨ Unliquidated
         UNITED KINGDOM                                    ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.282.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RK APPAREL INC                                                                                    $66,689.20
         3222 EAST WASHINGTON BLVD                         ¨ Contingent
         VERNON CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.283.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROCHELLE JOHNSON                                                                                  $700.00
         16 TOWNE PARK CT # 5                              ¨ Contingent
         LITTLE ROCK AR 72227
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.284.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROYAL WHOLESALE ELECTRIC                                                                          $1,288.96
         P.O. BOX 14004                                    ¨ Contingent
         ORANGE CA 92856
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.285.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RUBY & LACE APPAREL LLC                                                                           $9,807.07
         143 50TH ST                                       ¨ Contingent
         BROOKLYN NY 11232
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.286.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RUMORS APPAREL INC                                                                                $224,064.48
         946 E. 29TH ST                                    ¨ Contingent
         LOS ANGELES CA 90011
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.287.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         S.K.A EXPORTS                                                                                     $38,698.75
         PLOT NO.84 SECTOR-4 IMT MANESAR                   ¨ Contingent
         GURGAON-122050 HARYANA,
         INDIA                                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.288.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         S.K.Y APPAREL INC.                                                                                $12,828.48
         134 W. 30TH ST UNIT B-1                           ¨ Contingent
         LOS ANGELES CA 90007
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.289.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SAMIL SOLUTION                                                                                    $413,771.02
         6F RIO BUILDING 790-2 YEOKSAM                     ¨ Contingent
         SEOUL, 135-929,
         REPUBLIC OF KOREA                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.290.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SAMY'S CAMERA, INC.                                                                               $60.00
         PO BOX 48126                                      ¨ Contingent
         LOS ANGELES CA 90036
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.291.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SAN DIEGO HAT                                                                                     $2,028.00
         2293 COSMOS CT                                    ¨ Contingent
         CARLSBAD CA 92011
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.292.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SANWEN INC                                                                                        $24,966.05
         1921 CENTRAL AVE                                  ¨ Contingent
         S. EL MONTE CA 91733
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.293.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SARA BELLA JEWELRY                                                                                $16,632.00
         58 WALCOTT ST                                     ¨ Contingent
         PAWTUCKET RI 02860
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.294.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SARINA ACCESSORIES                                                                                $31,321.20
         15 WEST 36 STREET 5TH FLOOR                       ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.295.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SCHOLASTIC INC                                                                                    $335.52
         557 BROADWAY                                      ¨ Contingent
         NEW YORK NY 10012
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.296.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SCOUT MODEL AGENCY                                                                                $14,125.80
         355 BRYANT ST # 206                               ¨ Contingent
         SAN FRANCISCO CA 94107
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.297.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SECRET CHARM LLC                                                                                  $161,868.96
         1437 EAST 20TH STREET                             ¨ Contingent
         LOS ANGELES CA 90011
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.298.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SECURITAS SECURITY SERVICES                                                                       $1,250.00
         FILE 57220                                        ¨ Contingent
         LOS ANGELES CA 90074-7220
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.299.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SELECT PERSONNEL SERVICES                                                                         $231,106.66
         PO BOX 512007                                     ¨ Contingent
         LOS ANGELES CA 90051-0007
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.300.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SENSATIONAL COLLECTIONS INC                                                                       $30,490.41
         1410 BROADWAY SUITE 505                           ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.301.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SENSUAL INC.                                                                                      $6,805.20
         463 7TH AVE SUITE 1101                            ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.302.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SERVICIOS FLEXIBLES SAC (SERFL                                                                    $85,835.35
         MZ R LT 30 URB, ROSARIO DEL NORTE S.M.O.          ¨ Contingent
         LIMA 31
         PERU                                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.303.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHALOM                                                                                            $84,029.84
         8 NICHOLAS CT SUITE B                             ¨ Contingent
         DAYTON NJ 08810
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                               Case number (if known) 19-10215




3.304.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHANTEX GROUP LLC                                                                                 $1,538,189.81
         530 7TH AVE SUITE 703                             ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.305.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHI INTERNATIONAL CORP.                                                                           $64,538.95
         PO BOX 952121                                     ¨ Contingent
         DALLAS TX 75395-2121
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.306.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHINESTAR                                                                                         $17,810.50
         4553 SEVILLE AVE                                  ¨ Contingent
         VERNON CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.307.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHOSHO FASHION                                                                                    UNDETERMINED
         2454 E.27TH ST                                    ¨ Contingent
         VERNON CA 90058
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.308.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SITECREW INC                                                                                      $31,279.26
         3185 G AIRWAY AVE                                 ¨ Contingent
         COSTA MESA CA 92626
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.309.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SKJ ENTERPRISES                                                                                   $21,959.00
         1901 E.55TH ST                                    ¨ Contingent
         VERNON CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.310.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SMAI NYC LLC                                                                                      $5,802.33
         1385 BROADWAY SUITE 421                           ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.311.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SNP CREATIVE DESIGN CO LTD                                                                        $22,676.64
         SHI JI MEI JU 3F, XINGYANG ROAD 778,              ¨ Contingent
         CHENGYANG, QINGDAO 266109
         CHINA                                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.312.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOLSTICE INDIA LTD                                                                                $8,742.70
         C-157, MAYAPURI INDL. AREA, PHASE-II,             ¨ Contingent
         NEW DELHI-110064,
         INDIA                                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.313.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SONITROL GOLD COAST                                                                               $388.24
         1334 BLUE OAKS BLVD                               ¨ Contingent
         ROSEVILLE CA 95678-7014
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.314.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SPARKLE FRIDAY                                                                                    UNDETERMINED
         1167 MORENA BLVD                                  ¨ Contingent
         SAN DIEGO CA 92110
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.315.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SPRAYCO                                                                                           UNDETERMINED
         35601 VERONICA ST                                 ¨ Contingent
         LIVONIA MI 48150
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.316.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SPS COMMERCE INC.                                                                                 $13,947.57
         PO BOX 205782                                     ¨ Contingent
         DALLAS TX 75320-5782
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.317.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SQUAR, MILNER, PETERSON, MIRAN                                                                    $10,000.00
         4100 NEWPORT PLACE, 3RD FLOOR                     ¨ Contingent
         NEWPORT BEACH CA 92660
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.318.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SSS CLOTHING, INC.                                                                                $31,481.17
         1820 W. CARSON ST. #202-313                       ¨ Contingent
         TORRANCE CA 90501
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.319.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STAR FABRICS                                                                                      UNDETERMINED
         DONIGER/BURROUGHS                                 þ Contingent
         STEPHEN DONIGER/SCOTT BURROUGHS
         603 ROSE AVENUE                                   þ Unliquidated
         VENICE CA 90291                                   þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes

3.320.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STAR OF INDIA FASHIONS INC                                                                        $45,312.00
         PO BOX 28330                                      ¨ Contingent
         TEMPE AZ 85285
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.321.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STARLIGHT ACCESSORIES INC                                                                         $9,286.50
         10 WEST 33RD STREET SUITE 800                     ¨ Contingent
         NEW YORK NY 10001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.322.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STATEMENT ACCESSORIES DBA TRUE                                                                    $25,821.20
         LOVE ACCESSORIES                                  ¨ Contingent
         10 WEST 33RD STREET, SUITE 210
         NEW YORK NY 10001                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.323.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STEVENS GLOBAL LOGISTICS, INC.                                                                    $50,361.68
         P.O. BOX 729                                      þ Contingent
         LAWNDALE CA 90260-0729
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.324.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STEWART HANDLING SYSTEM, INC.                                                                     $171.43
         9227 ORCO PKWY UNIT E                             ¨ Contingent
         RIVERSIDE CA 92509
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.325.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STRIKE SOCIAL                                                                                     $348,249.86
         29398 NETWORK PLACE                               ¨ Contingent
         CHICAGO IL 60673
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.326.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STUDIO SUPERMOON LLC                                                                              $16,380.00
         5028 SIERRA VILLA DRIVE                           ¨ Contingent
         LOS ANGELES CA 90041
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.327.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STUTI STAH                                                                                        $100.00
         1738 KENSTONE WALK                                ¨ Contingent
         ATLANTA GA 30338
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.328.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SUNRISE APPAREL IMPORT INC DBA                                                                    $11,898.70
         SHINE IMPORTS 2455 E 27TH STREET                  ¨ Contingent
         VERNON CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.329.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         T BELLA                                                                                           $66,199.72
         3222 E. WASHINGTON BLVD                           ¨ Contingent
         VERNON CA 90058
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.330.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         T TREND INC                                                                                       $304,891.63
         750 E 14TH STREET #110                            ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.331.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TANK STREAM DESIGN INC                                                                            $1,097.80
         19571 PAULING                                     ¨ Contingent
         FOOTHILL RANCE CA 92610
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.332.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TERI LINGERIE COMPANY LLC                                                                         $44,592.89
         3261 NW YEON AVE                                  ¨ Contingent
         PORTLAND OR 97210
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.333.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TERRY'S TESTING INC                                                                               $185.00
         16280 CANON LANE                                  ¨ Contingent
         CHINO HILLS CA 91709
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.334.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THAUMA                                                                                            $1,247.72
         389 FIFTH AVE # 508                               ¨ Contingent
         NEW YORK NY 10016
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.335.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE INDUSTRY GROUP USA LLC                                                                        $2,750.46
         469 SOUTH ROBERTSON BLVD                          ¨ Contingent
         BEVERLY HILLS CA 90211
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.336.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE LITTLE DANE INC                                                                               $73.96
         1706 AGADIR ST                                    ¨ Contingent
         CONCORD CA 94518
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.337.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE MINES PRESS INC DBA ISCREA                                                                    $2,268.00
         231 CROTON AVE                                    ¨ Contingent
         CORTLANDT MANOR NY 10567
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.338.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE NES GROUP                                                                                     $1,279.15
         10 WEST 33RD STREET 9TH FLOOR                     ¨ Contingent
         NEW YORK NY 10001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.339.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE PROPOSE INC DBA NOBLE U                                                                       UNDETERMINED
         516 E. JEFFERSON BLVD                             ¨ Contingent
         LOS ANGELES CA 90021
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.340.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE SCOOP IN DESIGN INC                                                                           $1,575.00
         917 NORTH FLORENCE STREET                         ¨ Contingent
         BURBANK CA 91505
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.341.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE VINTAGE SHOP                                                                                  $255,465.69
         1015 S. CROCKER ST #R-14                          ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.342.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TIGERSHARK INC                                                                                    $11,000.00
         14080 PALM DRIVE SUITE D #240                     ¨ Contingent
         DESERT HOT SPRINGS CA 92240-6851
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                               Case number (if known) 19-10215




3.343.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOPSON DOWNS/LOVE FIRE                                                                            $968,871.07
         3840 WATSEKA VAE                                  ¨ Contingent
         CULVER CITY CA 90232
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.344.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOSHIKO CHUN YEE SHEK                                                                             $2,500.00
         1435 N FAIRFAX AVE #21                            ¨ Contingent
         LOS ANGELES CA 90046
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.345.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOTE FASHION SOURCING LIMITED                                                                     $33,641.80
         ROOM 2201, 22/F., 161 WAI YIP STREET, KWUN        ¨ Contingent
         TONG.,
         KOWLOON,                                          ¨ Unliquidated
         HONG KONG                                         ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.346.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRIXXI CLOTHING COMPANY                                                                           $53,135.08
         6817 E. ACCO ST                                   ¨ Contingent
         COMMERCE CA 90040
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.347.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRUE ELITE LTD                                                                                    UNDETERMINED
         F202 HUIFUN INTERNATIONAL NANG DAOJIAO            ¨ Contingent
         DONGGUAN
         GUANGDONG,                                        þ Unliquidated
         CHINA                                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.348.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TURN ON PRODUCTS INC DBA                                                                          $42,354.89
         263 W. 38TH ST., 8TH FL                           ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                               Case number (if known) 19-10215




3.349.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TWO GUYS AND ONE LLC                                                                              $263,806.90
         3011 E. PICO BLVD #A                              ¨ Contingent
         LOS ANGELES CA 90023
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.350.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TWO'S COMPANY                                                                                     $1,420.33
         500 SAW MILL RIVER RD                             ¨ Contingent
         ELMSFORD NY 10523
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.351.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ULINE                                                                                             $2,525.91
         PO BOX 88741                                      ¨ Contingent
         CHICAGO IL 60680-1741
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.352.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         URBAN EPISODE INC                                                                                 $123,289.80
         794 EAST 18TH STREET                              ¨ Contingent
         LOS ANGELES CA 90021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.353.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         URBINO APPAREL                                                                                    $44,650.40
         6720 WILSON AVE SUITE 200                         ¨ Contingent
         LOS ANGELES CA 90001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.354.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         USPA ACCESSORIES DBA CONCEPT                                                                      $775.00
         ONE 1411 BROADWAY, 7TH FLOOR                      ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.355.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VALUELINE GROUP CO LTD                                                                            $1,330,366.92
         FLOOR 7, HUATIAN BUILDING, NO 18, HOUJIE          ¨ Contingent
         BLVD S HOUJIE TOWN DONGGUAN CITY,
         GUANGDONG PROVINCE 523960,                        ¨ Unliquidated
         CHINA                                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.356.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VANDALE INDUSTRIES, INC.                                                                          $0.00
         16 EAST 34TH ST 8TH FL                            ¨ Contingent
         NEW YORK NY 10016
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.357.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VANS                                                                                              $12,304.08
         N850 COUNTY HWY CB                                ¨ Contingent
         APPLETON WI 54914
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.358.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VAULT SPORTSWEAR INC                                                                              $28,791.00
         1407 BROADWAY RM 2107                             ¨ Contingent
         NEW YORK NY 10018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.359.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VEN BRIDGE CO LTD.                                                                                $103,561.35
         3-5TH FLOOR, NO 96 EAST ZHUANXING ROAD            ¨ Contingent
         SHANGHAI
         CHINA                                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.360.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VIP INC.                                                                                          $5,658.53
         9210 ROCHESTER COURT                              ¨ Contingent
         RANCHO CUCAMONGA CA 91730
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                               Case number (if known) 19-10215




3.361.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VOO PRINT                                                                                         $1,050.00
         UNIT 21A, SPINNAKER HOUSE BATTERSEA               ¨ Contingent
         REACH, JUNIPER DRIVE
         LONDON SW18 1FR                                   ¨ Unliquidated
         UNITED KINGDOM                                    ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.362.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         W ACCESSORIES LTD                                                                                 $104,696.24
         147 W.35TH ST SUITE 1108                          ¨ Contingent
         NEW YORK NY 10001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.363.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WAYS & MEANS SF, LLC                                                                              $13,646.52
         1606 CASTRO STREET                                ¨ Contingent
         SAN FRANCISCO CA 94114
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.364.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WENDY DURAN                                                                                       $660.00
         755 S. SPRING ST. APT # 902                       ¨ Contingent
         LOS ANGELES CA 90014
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.365.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WESTERN EXTERMINATOR COMPANY                                                                      $302.00
         PO BOX 16350                                      ¨ Contingent
         READING PA 19612-6350
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.366.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WESTERN FASHION INC                                                                               $12,031.00
         5236 BELL COURT                                   ¨ Contingent
         CHINO CA 91710
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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Debtor   Charlotte Russe Merchandising, Inc.                                                               Case number (if known) 19-10215




3.367.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WHISTON AND WRIGHT LIMITED                                                                        $1,100.00
         CHANDELIER BUILDING UNIT G1 8 SCRUBS              ¨ Contingent
         LANE
         LONDON NW10 6RB                                   ¨ Unliquidated
         UNITED KINGDOM                                    ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.368.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WILLOW PRODUCTION LLC                                                                             $16,000.00
         2091 ARIELLE LANE                                 ¨ Contingent
         SIMI VALLEY CA 90365
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.369.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WORKMAN PUBLISHING COMPANY                                                                        $1,361.55
         225 VARICK ST                                     ¨ Contingent
         NEW YORK NY 10014
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.370.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WYNRIGHT CORPORATION                                                                              $1,596.94
         PO BOX 71383                                      ¨ Contingent
         CHICAGO IL 60694-1383
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.371.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         YB INTERNATIONAL                                                                                  $81,892.82
         3FL 2# BUILDING, NO 1006 XIANGSHAN ROAD           ¨ Contingent
         YIWU CITY,
         ZHEJIANG PROVINCE 322000                          ¨ Unliquidated
         CHINA                                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.372.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ZHENGPENG TRADE CO LTD.                                                                           $410,929.80
         100 GUANGHUA STREET, 3 ROAD, YANGMING             ¨ Contingent
         DISTRICT, MUDANJIANG,
         HEILONGJIANG, 157000                              ¨ Unliquidated
         CHINA                                             ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.373.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ZYANYA ZAHARA DAVIS                                                                               $14,400.00
         751 EAST 6TH STREET                               ¨ Contingent
         NEW YORK NY 10009
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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Debtor     Charlotte Russe Merchandising, Inc.                                                              Case number (if known) 19-10215



 Part 3:     List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that
      may be listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional
      pages are needed, copy the next page.
      Name and mailing address                           On which line in Part 1 or Part 2 is the related        Last 4 digits of account
                                                         creditor (if any) listed?                               number, if any

      BARNES & THORNBURG LLP                             Part 2 line 3.3                                         _____________________
      DAVID M POWLEN;KEVIN G COLLINS
      1000 N WEST ST STE 1500
      WILMINGTON DE 19801

      BENESCH FRIEDLANDER COPLAN & ARONOFF               Part 2 line 3.99                                        _____________________
      LLP
      JENNIFER R HOOVER;KEVIN M CAPUZZI
      222 DELAWARE AVE STE 801
      WILMINGTON DE 19801

      GOLDBERG WEPRIN ET AL                              Part 2 line 3.263                                       _____________________
      NEAL M. ROSENBLOOM, ESQ.
      1501 BROADWAY 22ND FL
      NEW YORK NY 10004

      KLESTADT WINTERS JURELLER SOUTHARD &               Part 2 line 3.304                                       _____________________
      STEVENS LLP
      TRACY L KLESTADT
      200 WEST 41ST ST., 17TH FLOOR
      NEW YORK NY 10036

      SINGER & LEVICK PC                                 Part 2 line 3.104                                       _____________________
      MICHELLE E SHRIRO,ESQ
      16200 ADDISON ROAD STE 140
      ADDISON TX 75001

      THE ROSNER LAW GROUP LLC                           Part 2 line 3.263                                       _____________________
      FREDERICK ROSNER ; JASON GIBSON
      824 N MARKET ST STE 810
      WILMINGTON DE 19801

      THE SARACHEK LAW FIRM                              Part 2 line 3.289                                       _____________________
      JOSEPH E SARACHEK, ESQ
      101 PARK AVE.,27TH FLOOR
      NEW YORK NY 10178




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 Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts


5a.   Total claims from Part 1                                                           5a.        $717,998.28


5b.   Total claims from Part 2                                                           5b.   +    $30,539,773.00


      Total of Parts 1 and 2                                                                        $31,257,771.28
5c.                                                                                      5c.
      Lines 5a + 5b = 5c.




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Fill in this information to identify the case:

Debtor name: Charlotte Russe Merchandising, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10215

                                                                                                                               ¨ Check if this is an
                                                                                                                                       amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                            12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).
2.      List all contracts and unexpired leases                                                            State the name and mailing address
                                                                                                           for all other parties with whom the
                                                                                                           debtor has an executory contract or
                                                                                                           unexpired lease

2.1.    Title of contract                EXCESS LIABILITY INSURANCE POLICY NO. ECA (20)                    AMERICAN FIRE & CASUALTY INS.
                                         54326811                                                          CO. (LIBERTY)
                                                                                                           175 BERKELEY ST
        State what the contract or       INSURANCE                                                         BOSTON MA 02116-5066
        lease is for

        Nature of debtor's interest      INSURED

        State the term remaining         1/31/2020

        List the contract number of      _________________________________________________
        any government contract


2.2.    Title of contract                AMENDED & RESTATED CREDIT AGREEMENT                               State the name and mailing address
                                                                                                           for all other parties with whom the
        State what the contract or       FINANCING AGREEMENT                                               debtor has an executory contract or
        lease is for                                                                                       unexpired lease
        Nature of debtor's interest      GUARANTOR                                                         CHARLOTTE RUSSE
                                                                                                           ADMINISTRATION, INC.
        State the term remaining         _________________________________________________                 5910 PACIFIC CENTER BLVD
                                                                                                           SAN DIEGO CA 92121
        List the contract number of      _________________________________________________
        any government contract


2.3.    Title of contract                AMENDED & RESTATED CREDIT AGREEMENT                               State the name and mailing address
                                                                                                           for all other parties with whom the
        State what the contract or       FINANCING AGREEMENT                                               debtor has an executory contract or
        lease is for                                                                                       unexpired lease
        Nature of debtor's interest      GUARANTOR                                                         CHARLOTTE RUSSE
                                                                                                           ADMINISTRATION, INC.
        State the term remaining         _________________________________________________                 5910 PACIFIC CENTER BLVD
                                                                                                           SAN DIEGO CA 92121
        List the contract number of      _________________________________________________
        any government contract




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Debtor    Charlotte Russe Merchandising, Inc.                                                    Case number (if known) 19-10215

2.4.     Title of contract             MANAGEMENT & ADMINISTRATIVE SERVICES                State the name and mailing address
                                       AGREEMENT                                           for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    MANAGEMENT AND SERVICES                             unexpired lease
         lease is for
                                                                                           CHARLOTTE RUSSE
         Nature of debtor's interest   CONTRACT PARTY                                      ADMINISTRATION, INC.
                                                                                           575 FLORIDA STREET
         State the term remaining      DATED JANUARY 28, 2012                              SAN FRANCISCO CA 94110
         List the contract number of   _________________________________________________
         any government contract


2.5.     Title of contract             AMENDED & RESTATED CREDIT AGREEMENT                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FINANCING AGREEMENT                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   GUARANTOR                                           CHARLOTTE RUSSE HOLDING, INC.
                                                                                           5910 PACIFIC CENTER BLVD
         State the term remaining      _________________________________________________   SAN DIEGO CA 92121
         List the contract number of   _________________________________________________
         any government contract


2.6.     Title of contract             AMENDED & RESTATED CREDIT AGREEMENT                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FINANCING AGREEMENT                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   GUARANTOR                                           CHARLOTTE RUSSE HOLDING, INC.
                                                                                           5910 PACIFIC CENTER BLVD
         State the term remaining      _________________________________________________   SAN DIEGO CA 92121
         List the contract number of   _________________________________________________
         any government contract


2.7.     Title of contract             AMENDED & RESTATED CREDIT AGREEMENT                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FINANCING AGREEMENT                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   GUARANTOR                                           CHARLOTTE RUSSE, INC.
                                                                                           5910 PACIFIC CENTER BLVD
         State the term remaining      _________________________________________________   SAN DIEGO CA 92121
         List the contract number of   _________________________________________________
         any government contract


2.8.     Title of contract             AMENDED & RESTATED CREDIT AGREEMENT                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FINANCING AGREEMENT                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   GUARANTOR                                           CHARLOTTE RUSSE, INC.
                                                                                           5910 PACIFIC CENTER BLVD
         State the term remaining      _________________________________________________   SAN DIEGO CA 92121
         List the contract number of   _________________________________________________
         any government contract




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Debtor    Charlotte Russe Merchandising, Inc.                                                    Case number (if known) 19-10215

2.9.     Title of contract             SALES & DISTRIBUTION AGREEMENT                      State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SALES & DISTRIBUTIONS                               debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CHARLOTTE RUSSE, INC.
                                                                                           575 FLORIDA STREET
         State the term remaining      DATED JANUARY 28, 2012                              SAN FRANCISCO CA 94110
         List the contract number of   _________________________________________________
         any government contract


2.10.    Title of contract             INTERNATIONAL PACKAGE INSURANCE POLICY NO. PST      State the name and mailing address
                                       62 313 6940                                         for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    INSURANCE                                           unexpired lease
         lease is for
                                                                                           CONTINENTAL INS. CO. (CNA)
         Nature of debtor's interest   INSURED                                             1455 FRAZEE RAOD
                                                                                           # 508
         State the term remaining      1/31/2020                                           SAN DIEGO CA 92108
         List the contract number of   _________________________________________________
         any government contract


2.11.    Title of contract             SPECIAL RISK INSURANCE POLICY NO. 88‐085‐312        State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             NATIONAL UNION FIRE INS. CO. OF
                                                                                           PITTSBURGH, PA
         State the term remaining      2/1/2021                                            175 WATER ST
                                                                                           18TH FL
         List the contract number of   _________________________________________________   NEW YORK NY 10038
         any government contract


2.12.    Title of contract             UMBRELLA LIABILITY INSURANCE POLICY NO.             State the name and mailing address
                                       NY19UMR701624IV                                     for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    INSURANCE                                           unexpired lease
         lease is for
                                                                                           NAVIGATOR’S INSURANCE CO.
         Nature of debtor's interest   INSURED                                             19200 VON KARMAN AVE
                                                                                           STE 250
         State the term remaining      1/31/2020                                           IRVINE CA 92612
         List the contract number of   _________________________________________________
         any government contract


2.13.    Title of contract             DIC INSURANCE POLICY NO. NSM39117                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             NORTH SHORE MANAGEMENT
                                                                                           400 SKOKIE BLVD
         State the term remaining      1/31/2020                                           STE 875
                                                                                           NORTHBROOK IL 60062
         List the contract number of   _________________________________________________
         any government contract




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Debtor    Charlotte Russe Merchandising, Inc.                                                     Case number (if known) 19-10215

2.14.    Title of contract             CYBER LIABILITY INSURANCE POLICY NO. W24A9F180101    State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or    INSURANCE                                            debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest   INSURED                                              SYNDICATE 2623/623 AT LLOYDS
                                                                                            (BEAZLEY)
         State the term remaining      9/2019                                               1270 AVE OF THE AMERICAS
                                                                                            STE 1200
         List the contract number of   _________________________________________________    NEW YORK NY 10020
         any government contract


2.15.    Title of contract             GENERAL LIABILITY ‐ EMPLOYEE BENEFIT LIABILITY       State the name and mailing address
                                       INSURANCE POLICY NO. TC2J‐GLSA‐6E00763A‐19           for all other parties with whom the
                                                                                            debtor has an executory contract or
         State what the contract or    INSURANCE                                            unexpired lease
         lease is for
                                                                                            TRAVELERS PROPERTY CASUALTY
         Nature of debtor's interest   INSURED                                              CO. OF AMERICA
                                                                                            485 LEXINGTON AVE
         State the term remaining      1/31/2020                                            6TH FL
                                                                                            NEW YORK NY 10017
         List the contract number of   _________________________________________________
         any government contract


2.16.    Title of contract             AUTOMOBILE INSURANCE POLICY NO.                      State the name and mailing address
                                       TJ‐CAP‐6E007641‐19                                   for all other parties with whom the
                                                                                            debtor has an executory contract or
         State what the contract or    INSURANCE                                            unexpired lease
         lease is for
                                                                                            TRAVELERS PROPERTY CASUALTY
         Nature of debtor's interest   INSURED                                              CO. OF AMERICA
                                                                                            485 LEXINGTON AVE
         State the term remaining      1/31/2020                                            6TH FL
                                                                                            NEW YORK NY 10017
         List the contract number of   _________________________________________________
         any government contract


2.17.    Title of contract             WORKERS’ COMPENSATION INSURANCE POLICY NO.           State the name and mailing address
                                       UB‐1L338947‐19‐51‐R (AZ,FL,MA,OR,WI)                 for all other parties with whom the
                                                                                            debtor has an executory contract or
         State what the contract or    INSURANCE                                            unexpired lease
         lease is for
                                                                                            TRAVELERS PROPERTY CASUALTY
         Nature of debtor's interest   INSURED                                              CO. OF AMERICA
                                                                                            485 LEXINGTON AVE
         State the term remaining      1/31/2020                                            6TH FL
                                                                                            NEW YORK NY 10017
         List the contract number of   _________________________________________________
         any government contract


2.18.    Title of contract             PROPERTY INSURANCE POLICY NO.                        State the name and mailing address
                                       KTJ‐CMB‐3065P37‐0‐19                                 for all other parties with whom the
                                                                                            debtor has an executory contract or
         State what the contract or    INSURANCE                                            unexpired lease
         lease is for
                                                                                            TRAVELERS PROPERTY CASUALTY
         Nature of debtor's interest   INSURED                                              INSURANCE CO.
                                                                                            485 LEXINGTON AVE
         State the term remaining      1/31/2020                                            6TH FL
                                                                                            NEW YORK NY 10017
         List the contract number of   _________________________________________________
         any government contract




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Debtor    Charlotte Russe Merchandising, Inc.                                                    Case number (if known) 19-10215

2.19.    Title of contract             CARGO INSURANCE POLICY NO. M‐20831                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             UNDERWRITERS AT LLOYD'S
                                                                                           LONDON
         State the term remaining      1/31/2020                                           ONE LIME ST
                                                                                           LONDON EC3M 7HA
         List the contract number of   _________________________________________________   UNITED KINGDOM
         any government contract




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Fill in this information to identify the case:

Debtor name: Charlotte Russe Merchandising, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10215

                                                                                                                              ¨ Check if this is an
                                                                                                                                     amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.

1.     Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
       schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the
       debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list
       each creditor separately in Column 2.

       Column 1: Codebtor                                                           Column 2: Creditor

       Name                               Mailing address                           Name                               Check all schedules that
                                                                                                                       apply:


2.1.   CHARLOTTE RUSSE                    5910 PACIFIC CENTER BLVD                  BANK OF AMERICA, N.A.              þD
       ADMINISTRATION, INC.               SAN DIEGO CA 92121
                                                                                                                       ¨ E/F
                                                                                                                       ¨G
2.2.   CHARLOTTE RUSSE                    5910 PACIFIC CENTER BLVD                  JEFFRIES FINANCE LLC, AS           þD
       ADMINISTRATION, INC.               SAN DIEGO CA 92121                        ADMINISTRATIVE AGENT AND
                                                                                    AS COLLATERAL AGENT                ¨ E/F
                                                                                                                       ¨G
2.3.   CHARLOTTE RUSSE                    5910 PACIFIC CENTER BLVD                  BANK OF AMERICA, N.A.              þD
       HOLDING, INC.                      SAN DIEGO CA 92121
                                                                                                                       ¨ E/F
                                                                                                                       ¨G
2.4.   CHARLOTTE RUSSE                    5910 PACIFIC CENTER BLVD                  JEFFRIES FINANCE LLC, AS           þD
       HOLDING, INC.                      SAN DIEGO CA 92121                        ADMINISTRATIVE AGENT AND
                                                                                    AS COLLATERAL AGENT                ¨ E/F
                                                                                                                       ¨G
2.5.   CHARLOTTE RUSSE, INC.              5910 PACIFIC CENTER BLVD                  BANK OF AMERICA, N.A.              þD
                                          SAN DIEGO CA 92121
                                                                                                                       ¨ E/F
                                                                                                                       ¨G
2.6.   CHARLOTTE RUSSE, INC.              5910 PACIFIC CENTER BLVD                  JEFFRIES FINANCE LLC, AS           þD
                                          SAN DIEGO CA 92121                        ADMINISTRATIVE AGENT AND
                                                                                    AS COLLATERAL AGENT                ¨ E/F
                                                                                                                       ¨G

Official Form 206H                                          Schedule H: Codebtors                                                       Page 1 of 1
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Fill in this information to identify the case:

Debtor name: Charlotte Russe Merchandising, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10215



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
      another individual serving as a representative of the debtor in this case.
      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



      þ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
      þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      þ Schedule H: Codebtors (Official Form 206H)
      þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ¨ Amended Schedule ____
      ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
      ¨ Other document that requires a declaration _______________________________________________________________________


      I declare under penalty of perjury that the foregoing is true and correct.



       Executed on      4/3/2019
                        MM/DD/YYYY                                û        /s/ Brian M. Cashman
                                                                      ______________________________________________________________
                                                                      Signature of individual signing on behalf of debtor


                                                                      Brian M. Cashman
                                                                      Printed name


                                                                      Chief Restructuring Officer
                                                                      Position or relationship to debtor




Official Form 202                     Declaration Under Penalty of Perjury for Non-Individual Debtors                                         Page 1 of 1
